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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

JOHN HUMMEL,                               §
                  Petitioner,              §
                                           §
v.                                         § Civil Action No. 4:16-CV-0133-O
                                           §        (Death Penalty Case)
LORIE DAVIS, Director,                     §
Texas Department of Criminal Justice,      §
Correctional Institutions Division,        §
                    Respondent.            §

                          RESPONDENT’S ANSWER

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                                     ANSWER

      Petitioner John Hummel was properly convicted of and received the death

penalty for the brutal murders of his pregnant wife, his five-year-old daughter, and

his father-in-law. He now challenges his presumptively valid capital murder

conviction and death sentence by filing a writ of habeas corpus petition pursuant to

28 U.S.C. § 2254 with a brief in support. However, Hummel fails to demonstrate that

the state court’s adjudication of his claims was either incorrect or unreasonable.

Therefore, the Director respectfully requests that Hummel’s petition for a writ of

habeas corpus be denied with prejudice and that a certificate of appealability also be

denied.

                                 JURISDICTION

      Hummel seeks habeas corpus relief in this Court pursuant to 28 U.S.C. § 2254,

which provides the Court with jurisdiction over the subject matter and the parties,

as Hummel was convicted within this Court’s jurisdiction.

                        PETITIONER’S ALLEGATIONS

      The Director understands Hummel to assert the following grounds for relief:

1.    Hummel received ineffective assistance of trial counsel (IATC) during the
      punishment phase of trial when counsel failed to:

      a.     Present evidence that Hummel was not a future danger based on the
             testimony of three guards from the Tarrant County Jail;
      b.     Present evidence that Hummel suffered from complex Post-Traumatic-
             Stress Disorder resulting from attachment trauma;
      c.     Present expert testimony regarding Hummel’s life history;
      d.     Present testimony from the following lay witnesses:
             1)    Thomas Hamilton;
             2)    Brian Jeter;
             3)    Joseph “JoJo” Patterson;


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            4)    Chad Brown;
            5)    Lance Dupre;
            6)    Shana Fowler;
            7)    George Goodson;
            8)    Christopher Paris; and
            9)    Tonya Paris;
      e.    Present Hummel’s military service; and
      f.    Argue that the prosecution’s case was insufficient to show future danger.

2.    Hummel received ineffective assistance of appellate counsel (IAAC) when
      appellate counsel:

      a.    Failed to argue that the prosecution’s case was insufficient to show
            future danger; and
      b.    Focused only on the arrest-warrant affidavit and ignored the unlawful
            detention by Border Patrol.

3.    The jury instructions submitted to the jury during punishment
      unconstitutionally restricted the evidence that the jury could determine was
      mitigating.

4.    Hummel’s death sentence is unconstitutional because it was assigned based on
      Texas’ arbitrary system of administrating the death penalty.

5.    Hummel’s Sixth, Eighth, and Fourteenth Amendment rights were violated
      because the trial court was prohibited from instructing the jury that a vote by
      one juror would result in life.

Pet. for Writ of Habeas Corpus, ECF No. 12, at 17–118 (“Petition”).

                               GENERAL DENIAL

      The Director denies each allegation of fact made by Hummel except those

supported by the record and those specifically admitted herein.

                          STATEMENT OF THE CASE

      Hummel was convicted on June 28, 2011, of capital murder committed on

December 17, 2009. 4 CR 747–750. Pursuant to the jury’s answers to the special

issues on future dangerousness and mitigation, the trial court sentenced Hummel to




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death. Id. The Texas Court of Criminal Appeals (“CCA”) affirmed Hummel’s

conviction on direct appeal. Hummel v. State, No. AP-76,596, 2013 WL 6123283, *1–

4 (Tex. Crim. App. Nov. 20, 2013), cert. denied, Hummel v. Texas, 135 S. Ct. 52 (2014).

        While his direct appeal was pending, Hummel filed a state habeas application.

1 SHCR1 2–468. The trial court—the same trial judge who had presided over all trial

proceedings—entered findings of fact and conclusions of law recommending denial of

relief. 4 SHCR 1398–1534. The CCA denied relief. Ex parte Hummel, No. WR-81,578-

01, 2016 WL 537608 (Tex. Crim. App. Feb. 10, 2016), cert. denied, Hummel v. Texas,

137 S. Ct. 63 (2016). Hummel timely filed his federal petition for habeas relief with

brief in support on February 4, 2017. ECF No. 12. This proceeding follows.

                              STATEMENT OF FACTS

I.      Facts of Hummel’s Capital Murder.

        On direct appeal, the CCA accurately summarized the evidence from the guilt-

innocence phase of trial as follows:

        In Fall 2009, [Hummel] resided in a house on Little School Road in
        Kennedale with his pregnant wife, Joy Hummel; their five-year-old
        daughter, Jodi Hummel; and [Hummel’s] father-in-law, Clyde Bedford.
        [Hummel] worked as an overnight security guard at Walls Hospital in
        Cleburne, and he often stopped at an E–Z Mart convenience store in
        Joshua on his way to and from work. He met Kristie Freeze, who worked
        as a clerk at the E–Z Mart, and he called and texted her numerous times
        between October and December 2009. Freeze testified that [Hummel]
        told her that he was married, but he was not in love with his wife. Freeze
        also informed [Hummel] that she was divorcing her husband and dating
        someone else. Although Freeze initially told [Hummel] that they could
        only be friends, they sent each other sexually explicit text messages and
        eventually had sexual intercourse on December 10. [Hummel] informed


1      “SHCR” refers to the State Habeas Transcript compiled by the state court, preceded
by volume number and followed by page reference.


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    Freeze that his wife was pregnant a few days later. Freeze instructed
    [Hummel] not to contact her anymore, but he continued to call and text
    her. On December 16, Freeze told [Hummel] that her divorce had
    become final.

    Lorie Lewallen, a cook who worked the night shift at the Huddle House
    restaurant near the E–Z Mart, testified that [Hummel] regularly came
    into the restaurant on his way to and from work in December 2009. He
    usually wore his work uniform, sat in a booth that faced Lewallen, and
    talked to her while she cooked. However, when [Hummel] was there on
    the night of December 16, he sat facing away from Lewallen, wore
    “street clothes,” and “reeked of cologne.” Lewallen testified that
    [Hummel] was unusually quiet and seemed “like something was on his
    mind” that night.

    Freeze testified that she permitted [Hummel] to visit her and her young
    daughter at their apartment in Joshua on the evening of December 17.
    [Hummel] arrived after dark wearing his security-guard uniform and
    stayed for about thirty minutes.

    In the early morning hours of December 18, emergency personnel
    responded to a fire at [Hummel’s] home. A passerby noticed that the
    house was on fire shortly after 12:00 a.m. and called 9-1-1. When police
    officer Joshua Worthy arrived at the scene approximately fifteen
    minutes later, he kicked open the front door and was unable to see
    anything but smoke and flames inside the house. He yelled to determine
    if anyone was inside, but no one responded. He also noticed that the back
    door to the residence was open. Firefighters later extinguished the blaze
    and discovered the burned bodies of Joy, Jodi, and Bedford, each inside
    of his or her bedrooms. Jodi and Bedford were found in their beds. Joy
    was located on the floor, with blood-soaked clothing nearby. Agent
    Steven Steele of the Bureau of Alcohol, Tobacco, Firearms and
    Explosives (“ATF”) investigated the scene and observed that Joy had
    injuries to her hands and upper body that appeared to be caused by some
    means other than the fire.

    [Hummel] approached Officer Worthy outside the house at around 4:30
    a.m. He asked Worthy what had happened and “if everyone had made it
    out[,]” Worthy replied that he did not know, and he accompanied
    [Hummel] to his minivan that was parked in a church parking lot across
    the street. Worthy and [Hummel] conversed while [Hummel] sat in his
    minivan and smoked a cigarette. [Hummel] told Worthy that he lived in
    the house with his pregnant wife, daughter, and father-in-law. Worthy
    testified that [Hummel] placed his “head down in his hands” a few times


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    during their conversation, but he “wasn’t crying” and was just “basically
    sitting there.” When Captain Darrell Hull walked over to them and
    asked [Hummel] what he had been doing that evening, he replied that
    he had gone to Walmart to check prices for Christmas presents.
    [Hummel] continued to ask “if everybody had made it out[,]” and the
    officers again responded that they did not know.

    Hull testified that [Hummel] agreed to follow him to the Kennedale
    Police Department [KPD] in his own minivan, and they arrived around
    5:15 or 5:30 a.m. Hull took [Hummel] to a room and asked [Hummel] to
    write a statement explaining what happened. He left [Hummel] alone in
    the room to write his statement and began recording [Hummel]. Hull
    testified that [Hummel] signed a witness statement that read,

          So I left my home around 9:00 p.m. I drove down to Joshua
          to visit a friend but [he] was not home. I drove around for
          awhile to wait and see if he would come home, but he didn’t.
          I stopped and got gas, drove around some more. Then I
          began to visit Walmarts to price things for Christmas. I
          came home a little after 5:00 a.m. and found it burned
          down, and firemen and police were still there.

    [Hummel] also provided written consent for police to search his house
    and van.

    During the interview with Detective Jason Charbonnet, Sergeant Eric
    Carlson, and Agent Steele, Steele noticed what appeared to be blood on
    [Hummel’s] pants. Steele testified that [Hummel] agreed to give him the
    clothes [Hummel] was wearing in exchange for clothes provided by
    another officer. When [Hummel] changed clothes, Steele observed blood
    on the bottom of his sock and scratch marks on his back.

    [Hummel] thereafter left the police department and went to the office of
    his employer, Champion Security, in Arlington. He arrived at 8:00 a.m.
    He attended a meeting, then picked up his paycheck before leaving the
    office at 11:00 a.m. Co-workers who spoke to [Hummel] that morning
    were unaware that anything unusual had happened until people began
    calling and asking for him later that day. [Hummel’s] co-workers and
    his friends from church were unable to reach him on his cell phone.
    Later, a concerned friend went to the police department to file a missing-
    person report on [Hummel].

    Steele and other arson investigators ultimately determined that the fire
    at [Hummel’s] home was an “incendiary fire,” and they ruled out


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    accidental causes. Steele testified that there were three separate and
    distinct fires, or “areas of origin,” within the house. Shiping Bao, the
    Deputy Medical Examiner who performed Joy’s autopsy, testified that
    Joy was pregnant with a fourteen to fifteen week old fetus when she
    died. Joy had a total of thirty-five stab wounds, including ten to her
    chest, two to her abdomen, one to her right thigh, seven to her neck, and
    fifteen to her back. She suffered damage to her internal organs,
    including her heart, lungs, and liver. She had incised wounds on her
    hands that appeared to be defensive in nature. She also had six
    lacerations on her skull, which indicated that she had been struck
    multiple times with a hard object. Bao concluded that the cause of Joy’s
    death was multiple stab wounds and the manner of her death was
    homicide. The lack of soot in her airways and the lack of carbon
    monoxide in her blood indicated that she was dead before the fire.
    Deputy Medical Examiner Gary Sisler testified that both Bedford and
    Jodi suffered extensive skull fractures. Sisler determined that the cause
    of their deaths was blunt-force injury, the lack of soot in their airways
    indicated that they were dead before the fire, and the manner of their
    deaths was homicide.

    On December 20, Customs and Border Protection Officer (“CBP”) Jorge
    Bernal encountered [Hummel] at the United States port of entry
    between Tijuana, Mexico, and San Ysidro, California. Bernal testified
    that [Hummel] approached his booth on foot and presented himself for
    entry into the United States at 5:48 a.m. When Bernal entered
    [Hummel’s] name and date of birth into the computer system, an “armed
    and dangerous” notification “popped up on [the] screen.” [Hummel] was
    handcuffed and taken to the Port Enforcement Team for further
    investigation. He was later transported to the San Diego County Jail.

    That night, Kennedale officers Carlson and Charbonnet and
    Investigator James Rizy of the Tarrant County District Attorney’s Office
    arrived at the San Diego County Jail. They mirandized [Hummel],
    conducted a videotaped interview with him, and obtained consent to
    search his minivan in San Ysidro and his hotel room in Oceanside,
    California. [Hummel] confessed his involvement in the instant offense
    both orally and in writing.
                                      ...

    Officers collected video that confirmed [Hummel’s] presence at Huddle
    House on December 16 and E–Z Mart on December 17. They also
    obtained video that confirmed [Hummel’s] presence at Walmart stores
    in Burleson, Grand Prairie, and Arlington on December 18. Store
    receipts indicated that [Hummel] was present at the Burleson Walmart


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      at 1:46 a.m. and the Grand Prairie Walmart at 4:33 a.m.

      In the early morning hours of December 21, officers searched a dumpster
      at an auto parts store in Arlington, Texas, and found a number of
      weapons including an aluminum baseball bat, a large sword and sheath,
      a small sword and sheath, a dagger, and a kitchen knife. The small
      sword, dagger, and kitchen knife were contained in a white plastic trash
      bag, and the handle of the dagger appeared to be broken. DNA testing
      was performed on these weapons and on [Hummel’s] clothing that he
      gave to officers at the [KPD].

      [Hummel’s] socks and pants had areas that tested positive for blood.
      Joy’s DNA profile matched DNA profiles from [Hummel’s] socks and
      pants, as well as the large sword, dagger, and kitchen knife. Bedford’s
      DNA profile was the same as DNA profiles that were obtained from
      [Hummel’s] pants and the white plastic trash bag. Jodi’s DNA profile
      was the same as a DNA profile obtained from an area on the aluminum
      baseball bat that tested presumptively positive for blood. The DNA
      profile obtained from the dagger handle and the large sword sheath was
      the same as [Hummel’s] DNA profile. Neither [Hummel] nor Joy could
      be excluded as contributors to a DNA mixture that was obtained from
      the small sword.

Hummel, 2013 WL 6123283, at *1–4.

II.   Evidence Presented During the Punishment Phase.

      A.     State’s evidence

      In addition to the heinous facts of the crime presented at guilt/innocence, the

State presented additional aggravating facts surrounding the commission of the

offense. Specifically, two weeks prior to the murders, Hummel had accessed a doctor’s

computer at the hospital at which he worked as a security guard without permission

and researched articles on the effects and symptoms of rat poison on humans. 42 RR

149–50; 43 RR 36–39.2 Hummel told investigators that he then attempted to poison


2      “RR” refers to the reporter’s record in Hummel’s trial court proceeding, preceded by
the volume number and followed by the page numbers.


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his family by putting d-CON rat poison into the spaghetti sauce for their dinner. 41

RR 11, 14. His family, however, thought the meat had gone bad, threw it away, and

ordered pizza as a substitute meal. 41 RR 14–16.

      The State also presented evidence that showed that, after Hummel fled from

the murders in Texas and checked into the Coast Inn in Oceanside, California,

Hummel went to the gentlemen’s club next door. 41 RR 17–18. Outside the hotel, he

met Scott Matejka. 41 RR 19; 42 RR 27. Matejka had crack-cocaine on him, which he

and Hummel smoked together. 41 RR 29; 42 RR 29. Matejka and Hummel then

traveled together to Tijuana in search of marijuana. 41 RR 29; 42 RR 31–32. While

in Mexico, Hummel and Matejka visited another gentlemen’s club. 42 RR 33.

Although Matejka testified that he never saw Hummel actually obtain marijuana in

the gentlemen’s club, Hummel told investigators that he had drugs in his pockets

when he attempted to cross the border back into California that he either swallowed

or discarded in the bathroom. 42 RR 34; 41 RR 29–30.

      The State also presented other relevant evidence. On December 18, 2009,

Hummel was counseled by his employer regarding infractions committed while on

the job—unauthorized computer use and smoking on a smoke-free campus. 42 RR 9–

11. Hummel admitted to the infractions. 42 RR 12. Hummel accessed 2,338

pornographic images during his unauthorized uses of the doctor’s computer. 42 RR

98–99, 105–06, 144; 43 RR 33. Hummel also accessed his profile, “John Long N Hard,”

on the website horneymatches.com, where he sought women who would meet him for

sexual encounters at the hospital while he was on-duty. 43 RR 30–32.




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      Hummel contacted Gretchen Bow, a dancer at the Showtime, on numerous

occasions to meet at the club and would pay her at least $100 each time she performed

for him. 42 RR 112–13, 120. Hummel would also ask Bow to visit him at the hospital

while he was working so that they could “smoke weed and other things.” 42 RR 114–

15.

      Melody Anderson, a friend of Hummel’s wife Joy, testified that Joy and

Hummel had financial problems. 44 RR 6, 8–9. Joy was responsible for the finances

in the family, and after Hummel hurt his back and was diagnosed with Crohn’s

disease, the conversation about their finances changed significantly. 44 RR 9. When

Hummel could not work, Joy obtained her certification as a massage therapist. 44 RR

10. A week before Joy was murdered, she had shown Anderson sonogram photographs

of her nearly eleven-week-old baby. 44 RR 11. Anderson testified that she observed

that Jodi, Hummel’s daughter, loved her father a lot and was very affectionate with

him. 44 RR 14. Anderson testified that Hummel and Joy still struggled financially

even after Hummel got the security guard job. 44 RR 15.

      Philip W. King knew Eddie, Hummel’s father-in-law, through the Kennedale

Senior Center where King was a volunteer. 44 RR 19, 28. Joy would drop him off

every weekday and make sure he was situated for the day. 44 RR 19–20. At the end

of the day, King would drop Eddie off at home, in time for Eddie to get his

granddaughter Jodi from the bus. 44 RR 21–22. King said that everybody at the

senior center loved Eddie. 44 RR 25.




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      Cindy Gail Lee was the Director of the Kennedale Senior Center on December

18, 2009. 44 RR 28. Lee recalled that, before she left for a short trip to Walmart, Eddie

had not shown up for his normal appointment. 44 RR 29. Because that was unusual,

Lee visited Eddie’s house and found that it had been burned. 44 RR 29–30. When she

returned to the senior center, she made an announcement about the fire, and several

people cried and were upset. 44 RR 30–31. Lee described Eddie as a fantastic guy who

was laughing all the time and talked to everyone. 44 RR 32–33.

      Finally, the State presented evidence regarding Hummel’s military service.

Lieutenant Colonel (“LTC”) Michael John Doughtery testified that Hummel was an

intelligence clerk under his command. 45 RR 8, 18. LTC Doughtery described

Hummel as a “pretty average, marginally effective” Marine who was not the best

performer. 45 RR 11. LTC Doughtery remembered that he had to counsel Hummel

from time to time about how he spent his off-duty hours. 45 RR 11. Hummel and

Lance Corporal Wayne Matthias spent an inordinate amount of time in strip clubs,

drinking, and with people who LTC Doughtery worried might lead them down the

wrong path. 45 RR 12, 23. LTC Doughtery thought Hummel was a good-natured and

happy-go-lucky type of person, but he could tell when Hummel was frustrated or

angry because he would go silent and the muscles in his face would tense up. 45 RR

13.

      LTC Doughtery testified that, according the Hummel’s military records, he

received two violations for smoking when he was not allowed to. 45 RR 14–15.

Hummel never received a good conduct medal during his service, which was awarded




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to those who have served three uninterrupted years without any non-judicial

punishments. 45 RR 15. LTC Doughtery testified that, although Hummel received a

Coast Guard Meritorious Unit Commendation, an Armed Forces Expeditionary

medal, a Humanitarian Service medal, and a Sea Service Deployment Ribbon, all

were for the unit and not for Hummel specifically. 45 RR 15–17, 27. LTC Doughtery

testified that Hummel’s rifle marksman badge was the lowest qualification for rifle

marksman that every Marine receives before leaving basic boot camp. 45 RR 17.

      On cross-examination, LTC Doughtery testified that Hummel was a good

mechanic and was able to do things with electronics that he found particularly sharp,

but if he was tasked with something he was not interested in, he needed maximum

guidance or supervision to ensure completion. 45 RR 22–23. LTC Doughtery testified

that Hummel also had several infractions for failure to maintain his weight and

failure to pass a physical fitness test. 45 RR 30.

      The State’s final witness, Captain Sergio Ricardo Santos, testified that he was

the intelligence officer that took over command of Hummel, and Hummel was not a

very impressive Marine. 45 RR 34–35. Captain Santos testified that Hummel did not

appear to be within weight standards and did not pass the physical fitness test. 45

RR 34–35. Captain Santos testified that, while Hummel was under his command, he

had an unauthorized absence of under 20 hours. 45 RR 35. Captain Santos had to

revoke Hummel’s security clearance after his unauthorized leave because they no

longer found him trustworthy. 45 RR 36. Captain Santos testified that Hummel had

lied to his corporals and sergeants regarding whether he was cleaning his room,




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pressing his uniform, and other things that constituted a pattern of questionable

integrity. 45 RR 38. Hummel also disobeyed orders. 45 RR 39.

      B.     Defense’s evidence

      Hummel’s counsel called eleven witnesses on his behalf. The first, Haila

Scoggins, was Hummel’s special education teacher at Jonesville High School in South

Carolina. 43 RR 52–53. Scoggins testified that Hummel remained in her special

education classes for all four years of his high school. 43 RR 53–54. Scoggins testified

that Hummel had a learning disability in written language and had dyslexia. 43 RR

56. Scoggins described Hummel as quiet, pleasant, cooperative, and responsible. 43

RR 60. Scoggins never had discipline problems with Hummel when he was her

student. 43 RR 61. Scoggins recalled that Hummel enjoyed playing Dungeons and

Dragons. 43 RR 65. Scoggins believed that, had Hummel received accommodations

for his learning disability, he might have attended college. 43 RR 66.

      Tommy Jeffrey Stribble, the Director of Special Services for Union County

Schools in South Carolina, testified that Hummel’s school records showed that he

failed the fourth grade the first time he went. 43 RR 86. The records also showed that

Hummel failed the writing portion of his exit exams three times and only passed on

his fourth attempt after special accommodations were made for him. 43 RR 88–89.

The records indicate that Hummel graduated with a 2.414 grade point average. 43

RR 91. Hummel also participated in ROTC while he was in school. 43 RR 92. Hummel

designed a logo for Project Hope and received a second-place award. 43 RR 93.




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Hummel was absent sixteen days during his second grade year and was tardy ten

times during his fourth grade year. 43 RR 94.

      Mark Pack, a family friend of Hummel’s, testified that he had known Hummel

since he was nine or ten years old and used to eat Sunday dinner with the Hummel

family for fifteen or sixteen years. 43 RR 104–05. Pack described Hummel as “an

isolated person,” who kept to himself and played video games. 43 RR 109–10. Pack

said that Hummel’s mother would do anything that Pack and his siblings asked but

would not do the same for her own children. 43 RR 110. Pack testified that he

witnessed Hummel being physically punished once when he was twelve or thirteen

years old. 43 RR 111–12. Pack never saw Hummel get violent with anybody, although

he did see Hummel get frustrated or mad. 43 RR 113–14. Hummel would ball up and

hold everything in when he was frustrated. 43 RR 114. Pack thought Hummel was a

slow learner. 43 RR 119–20.

      Christy Gregory Pack, who was married to Mark Pack, testified that she first

met Hummel at church. 43 RR 124. Christy said that, whenever they would go over

for Sunday dinners, Hummel would be very quiet and stay in his bedroom playing

video games. 43 RR 126. Christy testified that Hummel’s mother was very generous

with the Pack family but was very strict with her own children. 43 RR 127.

      Linda Jean Petty Pack, Mark Pack’s mother, was good friends with Hummel’s

mother, Jackie. 43 RR 137. Linda recalls that Jackie was very strict with her kids,

although she never saw her physically strike them. 43 RR 138. Linda never saw

Hummel back-talk or disobey his parents, and both Hummel children would be quick




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to do whatever their parents asked of them. 43 RR 139–40. Linda believed Jackie

treated the Pack children better than her own children. 43 RR 140. Linda remembers

that when Hummel’s sister Neata moved out, Jackie gave her $20, but when Linda’s

mother gave Neata $10, Jackie took $10 back because she did not want Neata to have

more than $20. 43 RR 142. On that same day, Jackie bought one of the Pack children

a $50 pair of shoes. 43 RR 145.

      Derrick Joe Parris, Linda Pack’s nephew, was good friends with Hummel when

they were children. 43 RR 150–51. Parris witnessed Hummel’s father hit Hummel

twice, once with a belt and once with a broomstick. 43 RR 152–54. Parris and Hummel

would play Nintendo games together. 43 RR 155. Parris saw Hummel’s father smack

Parris’s mother on the behind, which caused problems with Parris’s father. 43 RR

155. Parris testified that Hummel was given the nickname “Bacon” at school because

he would smell like bacon when he got to school. 43 RR 156–57.

      When Hummel came back from the military, he and Parris would go to bars

and strip clubs, even though Parris was not old enough to go to bars. 43 RR 157–58.

Parris described Hummel as getting “a little too attached” to the girls dancing in the

strip club. 43 RR 158–59. Parris testified that Hummel was always behind in school.

43 RR 159. Parris had never known Hummel to be violent with anybody. 43 RR 160.

Parris testified that it surprised him when Hummel joined the Marines because

Hummel was overweight and not very athletic. 43 RR 161. Parris testified that he

and his friends laughed when Hummel told them he was an intelligence analyst in




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the Marines because they did not believe Hummel was smart. 43 RR 161. Parris never

knew Hummel to use drugs before the Marines. 43 RR 169.

      Stephanie Bennett testified that she was Hummel’s former high school

girlfriend. 43 RR 172–73. Bennett testified that they dated a little less than a year.

43 RR 174. Bennett said that both she and Hummel were a little shy. 43 RR 175.

Bennett testified that she and Hummel broke up because Hummel got very serious

about the relationship, talking about getting married after high school, and Bennett

was not ready for that. 43 RR 176. Bennett never knew Hummel to be violent towards

anybody, and Hummel always treated her appropriately. 43 RR 178.

      Letti Bandit Hubertz was homeless when she met Hummel in San Diego. 43

RR 187–89. Hubertz and Hummel started dating a month before Hummel got out of

the Marine Corps. 43 RR 189. Hubertz was pregnant at the time. 43 RR 189–90.

When Hummel got out of the Marine Corps, he and Hubertz moved back to South

Carolina together, where they were to be a family. 43 RR 190–91. When they first

moved back, they lived with Hummel’s parents, and Hummel began working with his

dad at Kohler. 43 RR 191–92. Hummel always treated her with respect and showed

great concern for her while she was pregnant. 43 RR 192. He was never abusive

towards her in any way. 43 RR 193. Hummel and Hubertz eventually moved into

their own two-bedroom trailer shortly before Hubertz gave birth to her child. 43 RR

193–94. Hubertz’s baby was given Hummel’s last name, even though it was not his

child. 43 RR 189, 194.




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      Hubertz testified that she thought their relationship was progressing well,

until the day that Neata showed up at their trailer and told her that Hummel had

gone. 43 RR 195. Neata handed Hubertz a letter purportedly from Hummel, in which

he said he was not ready to be a father and had left for Texas. 43 RR 195. Neata told

Hubertz that she had one hour to get her stuff for her and her son, as they had

purchased a bus ticket back to California for them. 43 RR 196. When Hubertz got to

the bus station, she noticed that the ticket had been purchased two weeks earlier. 43

RR 196. Hubertz testified that she never knew Hummel to frequent bars or strip clubs

or use drugs. 43 RR 199. Hubertz attempted to contact Hummel after she got to

California but was repeatedly hung up on. 43 RR 199.

      Hummel’s sister, Neata Woody, testified that she took care of Hummel when

they were children, even though their mother did not work outside the home, because

she was told to. 43 RR 208, 211. Neata testified that her parents were never

affectionate with them. 43 RR 211. Neata’s mother was the disciplinarian in the

family, often using a belt to dole out punishment. 43 RR 213–14, 218. Such

punishment was common in the Hummel household. 43 RR 214. It was also common

for the Hummel children to be left alone in the house, even before elementary school.

43 RR 215. One time, Neata called the operator when she was scared while just she

and Hummel were home. 43 RR 218. Neata testified that, when she was seventeen,

she saw a woman performing oral sex on her father. 43 RR 252.

      Neata and Hummel were only allowed to have friends visiting that their

parents approved of. 43 RR 219. Neata believes that her parents were abusive




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towards her and Hummel. 43 RR 221. Neata knew that Hummel was called “Bacon”

at school because he smelled like bacon as a result of the wood-burning stove that

heated the house. 43 RR 223. Neata testified that Hummel joined the military when

he was 22 years old. 43 RR 225. Neata testified that she and Hummel talked about

his relationship with Hubertz, and he let her take care of it. 43 RR 227. It was Neata’s

decision that Hubertz should leave, and Hummel agreed to it. 43 RR 227. Neata said

that when Hummel got off work, he went to his parents’ house, and Neata picked

Hubertz up and told her that Hummel did not want to be with her anymore. 43 RR

227.

       Hummel was in the Marines for four years. 43 RR 231. After Hummel got out

of the Marine Corps, he had colitis and got surgery to get some of his intestines

removed. 43 RR 230. Hummel also wore a colostomy bag for a while after the surgery.

43 RR 230. Hummel and his wife had financial problems. 43 RR 231. Neata testified

that, although she saw anger if people made Hummel mad, he was never violent

towards anybody. 43 RR 232. Neata said that Hummel was nice to Joy and wonderful

with his daughter Jodi. 43 RR 253.

       Finally, the defense called two expert witnesses. The first, Frank G. Aubuchon,

testified that, based on his review of Hummel’s military, medical, offense, and jail

classification records, he believed that Hummel would be classified as general

population Level 3, which is the minimum level a life-sentenced-without-parole

inmate could receive. 44 RR 64, 67, 69. Aubuchon relied on the following observations

in arriving at his conclusion: other than Hummel’s crime, he was a very




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unremarkable person; Hummel lacked a criminal record; Hummel was honorably

discharged from the military; and Hummel had no disciplinaries while in jail. 44 RR

70, 113. Aubuchon testified that, if Hummel received a life sentence, the remainder

of his life would be as a prisoner. 44 RR 71. Aubuchon believed that Hummel would

make a good adjustment to life in prison, based on the fact that Hummel had behaved

well for the year he spent incarcerated in Tarrant County Jail and based on his good

behavior in the military, which is a similarly highly-structured environment. 44 RR

73. Aubuchon admitted, however, that he did not know that Hummel had gone absent

without leave while in the military. 44 RR 74.

      Dr. Antoinette Rose McGarrahan, the final defense witness, was a forensic

psychologist, with a specialty in neuropsychology. 44 RR 118. Dr. McGarrahan

testified that she conducted a full neuropsychological evaluation, as well as a

personality and emotional evaluation, of Hummel for a total of eleven hours. 44 RR

121. Dr. McGarrahan looked at twenty to thirty different tasks and instruments. 44

RR 122. In her evaluation of Hummel, Dr. McGarrahan also reviewed numerous

records, including military, medical, school, and Tarrant County Jail records, as well

as his video-recorded statements, statements from Neata Woody and her husband,

and various cards, letters, and correspondence. 44 RR 122–23. Dr. McGarrahan also

interviewed Neata for two and a half hours by phone and spoke with Hummel’s

mother for one hour. 44 RR 123. Dr. McGarrahan reviewed Hummel’s mother’s

medical records and also subsequently reviewed psychological test data performed by

the State’s expert, Dr. Randy Price. 44 RR 123–24. Dr. McGarrahan also performed




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a clinical interview with Hummel, which delved into his social history and the

circumstances of the offense. 44 RR 124.

      Dr. McGarrahan found that Hummel suffered from a disorder of written

expression, but his IQ was in the average to above-average range. 44 RR 125. Dr.

McGarrahan did not find that Hummel suffered from any severe mental disorders on

the Axis I, although Hummel did show some mild depression and anxiety. 44 RR 126.

Dr. McGarrahan explained that Hummel’s primary problems were personality

related, resulting in her giving him a personality disorder, general criteria diagnosis

of not otherwise specified. 44 RR 126. The specific areas Hummel had difficulties with

were in the diagnoses of narcissistic, antisocial, schizoid, and borderline personality

disorders. 44 RR 127.

      Dr. McGarrahan testified that she believed that both genetic, but largely

environmental, factors played a major role in the development of Hummel’s

personality. 44 RR 133, 135. Dr. McGarrahan testified that, based on her discussions

with Hummel’s mother, his sister, and a review of the records, Hummel’s mother’s

caregiving was inconsistent, not nurturing, and neglectful. 44 RR 133, 135. Hummel’s

mother did not show love or affection to her children. 44 RR 133–35. Dr. McGarrahan

testified that an individual’s ability to learn reciprocity and form attachments is a

direct result of the involvement of the primary caregiver. 44 RR 134. Dr. McGarrahan

believed that Hummel’s mother was a major contributing factor to his personality. 44

RR 135. Although Hummel did feel emotions, he was unable to express them because

he was controlled by his mother. 44 RR 136–37.




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      Importantly, Dr. McGarrahan testified that she believed Hummel committed

the murders “in a flood of emotional rage” that was a result of thirty years of

repression of those emotions. 44 RR 138. Hummel’s emotional state was such that,

even though he knew what he was doing was wrong, he was operating on pure

emotion. 44 RR 138–39, 156. Dr. McGarrahan believed that Hummel acted blunt and

unaffected in his interviews because, once the flood of emotions ended, he was “back

to expressionless difficulty showing what he’s feeling and what he’s experiencing.” 44

RR 139–40. When Dr. McGarrahan asked Hummel why he committed the crime, he

explained that he had been ruminating on all the wrongs done to him over his lifetime

and this rumination built up into an explosive rage. 44 RR 141. Hummel described

his own wife and father-in-law as having been consistently critical of his lack of job,

his inability to do things around the house, and his medical problems. 44 RR 142.

      Hummel also described his rapid infatuation with Kristie Freeze, despite

knowing she did not reciprocate his feelings. 44 RR 142–43. Dr. McGarrahan said

that this was common in Hummel’s history, whenever a woman would show interest.

44 RR 143–44. Although Hummel sought relationships, he was unable to form any

relationships with anyone, whether romantic, platonic, or even familial. 44 RR 144.

Dr. McGarrahan agreed that the issues regarding Hummel’s personality and the

genesis of his childhood played a big role in the commission of the offense. 44 RR 145.

Dr. McGarrahan did testify, however, that Hummel had planned and thought about

the murders for a period of time before they happened. 44 RR 152. Dr. McGarrahan




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said that Hummel was essentially the same person today that he was on December

17, 2009. 44 RR 155.

      Dr. McGarrahan testified that Hummel has done fairly well in structured

environments and had received several commendations for his service in the military.

44 RR 159–60. Dr. McGarrahan testified that, although Hummel once left his

military post without permission, he did not receive a judicial punishment; instead,

it was administratively handled. 44 RR 160. Dr. McGarrahan said that Hummel

admitted that he was wrong in carrying out the offense. 44 RR 162.

      Lastly, on the cross-examination of State’s witness LTC Doughtery, defense

counsel elicited testimony that Hummel was in fact an intelligence specialist when

he was in LTC Doughtery’s command. 45 RR 22. LTC Doughtery testified that

Hummel did not receive any nonjudicial punishments under his watch. 45 RR 26.

Defense counsel also elicited testimony that Hummel had security clearance while he

was under LTC Doughtery’s command. 45 RR 29. And, under cross-examination,

State’s witness Captain Santos testified that, at some point, Hummel had been

promoted to Lance Corporal. 45 RR 43. Hummel was still a Lance Corporal when he

was honorably discharged. 45 RR 43–44. Captain Santos testified that Hummel

received only the nonjudicial punishment of his pay being docked $282 for his

unauthorized leave. 45 RR 44–45.




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                                     ARGUMENT

I.    Standard of Review

      Under § 2254(d) of the Antiterrorism and Effective Death Penalty Act

(“AEDPA”), a federal court may not issue a writ of habeas corpus for a defendant

convicted under a state judgment unless:

      it is shown that the earlier state court’s decision ‘was contrary to’ federal
      law then clearly established in the holdings of this Court; or that it
      ‘involved an unreasonable application of’ such law; or that it ‘was based
      on an unreasonable determination of the facts’ in light of the record
      before the state court.

Harrington v. Richter, 562 U.S. 86, 100 (2011) (citation omitted). A state court

decision is “contrary” to established federal law if the state court “applies a rule that

contradicts the governing law set forth in [the Supreme Court’s] cases,” or confronts

facts that are “materially indistinguishable” from a relevant Supreme Court

precedent, yet reaches an opposite result. Terry Williams v. Taylor, 529 U.S. 362,

405–06 (2000).

      A “run-of-the-mill” state court decision applying the correct Supreme Court

rule to the facts of a particular case is to be reviewed under the “unreasonable

application” clause. Id. at 406. To this end, a state court unreasonably applies

Supreme Court precedent only if it correctly identifies the governing precedent but

unreasonably applies it to the facts of a particular case. Id. at 407–09. In order to

determine if the state court made an unreasonable application a federal court “must

determine what arguments or theories supported or . . . could have supported, the

state court’s decision; and then it must ask whether it is possible fairminded jurists



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could disagree that those arguments or theories are inconsistent with the holding in

a prior decision of this Court.” Richter, 562 U.S. at 102. This is the “only question that

matters under § 2254(d)(1).” Lockyer v. Andrade, 538 U.S. 63, 71 (2003).

      Thus “a state court’s determination that a claim lacks merit precludes federal

habeas relief so long as ‘fairminded jurists could disagree’” on the correctness of the

state court’s decision. Richter, 562 U.S. at 101 (quoting Yarborough v. Alvarado, 541

U.S. 652, 664 (2004)); see also Woodford v. Visciotti, 537 U.S. 19, 27 (2002) (federal

habeas relief is only merited where the state-court decision is both incorrect and

objectively unreasonable, “whether or not [this Court] would reach the same

conclusion”). Moreover, “evaluating whether a rule application was unreasonable

requires considering the rule’s specificity. The more general the rule, the more leeway

courts have in reaching outcomes in case-by-case determinations.” Yarborough, 541

U.S. at 664.

      “It bears repeating that even a strong case for relief does not mean the state

court’s contrary conclusion was unreasonable.” Richter, 562 U.S. at 102.

      If this standard is difficult to meet, that is because it was meant to be.
      As amended by AEDPA, § 2254(d) stops short of imposing a complete
      bar on federal court relitigation of claims already rejected in state
      proceedings. It preserves authority to issue the writ in cases where there
      is no possibility fairminded jurists could disagree that the state court’s
      decision conflicts with this Court’s precedents. It goes no further.
      Section 2254(d) reflects the view that habeas corpus is a “guard against
      extreme malfunctions in the state criminal justice systems,” not a
      substitute for ordinary error correction through appeal.

Id. at 102–03 (citations omitted). It is the state court’s “ultimate decision” that is to

be tested for unreasonableness and not every jot of its reasoning. Neal v. Puckett, 286



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F.3d 230, 246 (5th Cir. 2002) (en banc); see also Santellan v. Cockrell, 271 F.3d 190,

193 (5th Cir. 2001); Catalan v. Cockrell, 315 F.3d 491, 493 (5th Cir. 2002). State

courts are presumed to know and follow the law. Woodford, 537 U.S. at 24. Even

where the state court fails to cite to applicable Supreme Court precedent or is

unaware of such precedent, AEDPA’s standard of review nevertheless applies “so long

as neither the reasoning nor the result of the state-court decision contradicts

[Supreme Court precedent].” Early v. Packer, 537 U.S. 3, 8 (2002); see also Richter,

562 U.S. at 102.

       If the Supreme Court has not “broken sufficient legal ground to establish . . .

constitutional principle, the lower federal courts cannot themselves establish such a

principle with clarity sufficient to satisfy the AEDPA bar” under either the contrary

to or unreasonable application standard. Terry Williams, 529 U.S. at 381. Stated

differently:

       As a condition for obtaining habeas corpus from a federal court, a state
       prisoner must show that the state court’s ruling on the claim being
       presented in federal court was so lacking in justification that there was
       an error well understood and comprehended in existing law beyond any
       possibility for fairminded disagreement.

Richter, 562 U.S. at 103. A federal court must be wary of circumstances in which it

must “extend a [legal] rationale” of the Supreme Court “before it can apply to the facts

at hand” because such a process suggests the proposed rule is not clearly established.

Yarborough, 541 U.S. at 666.

       AEDPA also provides that the state court’s factual findings “shall be presumed

to be correct.” 28 U.S.C. § 2254(e)(1). The petitioner carries “the burden of rebutting



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the presumption of correctness by clear and convincing evidence.” Id. “The

presumption of correctness not only applies to explicit findings of fact, but it also

applies to those unarticulated findings which are necessary to the state court’s

conclusions of mixed law and fact.” Valdez v. Cockrell, 274 F.3d 941, 948 n.11 (5th

Cir. 2001). This presumption is “especially strong” where, as here, the state trial

judge and the state habeas judge are one and the same. Compare 4 CR 749 (showing

Honorable Ruben Gonzalez, Jr., as presiding over Hummel’s proceedings), with 4

SHCR 1534 (same); see also Clark v. Johnson, 202 F.3d 760, 764 (5th Cir. 2000);

Buxton v. Lynaugh, 879 F.2d 140, 146 (5th Cir. 1989).

      Except for the narrow exceptions contained in § 2254(e)(2), the evidence upon

which a petitioner would challenge a state court fact finding must have been

presented to the state court. Cullen v. Pinholster, 563 U.S. 170, 180–81 (2011).

Because a federal habeas court is prohibited from granting relief unless a decision

was based on “an unreasonable determination of the facts in light of the evidence

presented in the state court proceeding,” it follows that demonstrating the

incorrectness of a state court fact finding based upon evidence not presented to the

state court would be of no avail to a habeas petitioner. 28 U.S.C. § 2254(d)(2). Review

pursuant to § 2254(d)(1) “is limited to the record that was before the state court that

adjudicated the claim on the merits.” Pinholster, 563 U.S. at 181.

      Finally, an evidentiary hearing is precluded unless (1) a petitioner’s claims rely

on a new rule of constitutional law or a factual predicate previously undiscoverable

through the exercise of due diligence; and (2) the petitioner establishes by clear and




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convincing evidence that, but for constitutional error, no reasonable factfinder would

have found him guilty. 28 U.S.C. § 2254(e)(2). A failure to meet this standard of

“diligence” will bar a federal evidentiary hearing in the absence of a convincing claim

of actual innocence that can only be established by newly discovered evidence.

Michael Williams v. Taylor, 529 U.S. 420, 436 (2000). For example, a petitioner who

does not present controverted, previously unresolved factual issues to the state court

is sufficient to constitute “failure” under the plain meaning of § 2254(e)(2). Id. at 433.

However, § 2254(e)(2) has “force [only] where § 2254(d)(1) does not bar federal habeas

relief.” Pinholster, 563 U.S. at 185.

      Accordingly, even if a petitioner can leap the § 2254(e)(2) hurdle, “evidence

introduced in federal court has no bearing on § 2254(d)(1) review.” Id. at 185. And

whatever discretion remains after Pinholster to hold an evidentiary hearing, it is still

appropriate to deny such a hearing if sufficient facts exist to make an informed

decision on the merits. Schriro v. Landrigan, 550 U.S. 465, 474–75 (2007). Hummel

has not met this standard.

II.   Hummel Fails to Demonstrate that the State Court Unreasonably
      Denied his Claim Alleging Ineffective Assistance of Trial Counsel at
      the Punishment Phase of Trial (Claim 1).

      In his first ground Hummel claims trial counsel were ineffective at the

punishment phase of trial when they failed to argue that the State’s case was

insufficient to show future dangerousness and failed to investigate and present

several witnesses in mitigation of punishment. Petition at 17–118. At bottom,

Hummel faults trial counsel for failing to emphasize—whether through argument or



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through the presentation of additional witnesses—that, other than the murders,

Hummel did not have a violent history but did have a troubled upbringing. Id.

However, Hummel fails to show that his trial counsel were deficient in any way or

that he was prejudiced by any such deficiency, and the state court was reasonable in

denying his claim. This Court should similarly deny Hummel’s claim.

      Strickland v. Washington, 466 U.S. 668 (1984), governs ineffective-assistance-

of-trial-counsel (IATC) claims. See Pinholster, 563 U.S. at 189 (“There is no dispute

that the clearly established federal law here is Strickland v. Washington.”). To prove

ineffectiveness, an inmate must establish that counsel’s actions or omissions were

deficient and that such deficiency prejudiced the defense. Strickland, 466 U.S. at 687.

A reviewing court may dispose of a claim if counsel rendered reasonably effective

assistance or there was a lack of prejudice. Id. If one is found dispositive, the court

need not address the other. Id. at 697; Alexander v. McCotter, 775 F.2d 595, 602 (5th

Cir. 1985).

      To establish deficiency, courts “must be highly deferential” to counsel’s

conduct, and an inmate must show that “counsel’s representation fell below an

objective standard of reasonableness.” Strickland, 466 U.S. at 688–89. There is a

“strong presumption” that counsel’s representation was within the “wide range” of

reasonable professional assistance. Id. at 689. And, every effort must be made to

eliminate the “distorting effects of hindsight.” Id. An inmate’s burden is to show “that

counsel made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.” Id. at 687.




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      To establish prejudice, an inmate must demonstrate “a reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Id. at 694. It is not enough “to show that the errors had

some conceivable effect on the outcome of the proceeding”; Hummel may not simply

allege, but must “affirmatively prove” prejudice. Id. at 693. Counsel’s errors must be

“so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”

Id. at 687. In other words, “[t]he likelihood of a different result must be substantial,

not just conceivable.” Richter, 562 U.S. at 112.

      “Surmounting Strickland’s high bar is never an easy task.” Padilla v.

Kentucky, 559 U.S. 356, 371 (2010). Indeed, under § 2254(d), “because the Strickland

standard is a general standard, a state court has even more latitude to reasonably

determine that a defendant has not satisfied that standard.” Knowles v. Mirzayance,

556 U.S. 111, 123 (2009). As such, “[e]stablishing that a state court’s application of

Strickland was unreasonable . . . is all the more difficult. The standards created by

Strickland and § 2254(d) are both ‘highly deferential,’ and when the two apply in

tandem, review is ‘doubly’ so.” Richter, 562 U.S. at 105 (citations omitted).

      It should be noted that in determining the merits of an ineffective assistance

claim under Strickland, the American Bar Association (ABA) Guidelines cited so

frequently by petitioners are just that—guidelines. The Supreme Court has soundly

rejected the notion that the ABA’s guidelines are an “inexorable command with which

all capital defense counsel must fully comply” to be constitutionally effective. Bobby

v. Van Hook, 558 U.S. 4, 17 (2009) (per curiam) (internal quotation marks omitted).



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The Court emphasized that the same was true of all state and private organization

rules, noting that they are “free to impose whatever specific rules they see fit to

ensure that criminal defendants are well represented,” but “the Federal Constitution

imposes one general requirement: that counsel make objectively reasonable choices.”

Id. (quotation marks omitted). Thus, while it is true that the Court’s decisions in

Strickland, Williams,3 Wiggins,4 and Rompilla5 all refer approvingly to the ABA

Guidelines, the guidelines were not adopted as law. Wiggins, 539 U.S. at 524.

       A.     Counsel properly argued that the State’s evidence of future
              danger was insufficient (claim 1-F).6

       Hummel asserts that his trial counsel rendered ineffective assistance when

they failed to argue that the State’s evidence was insufficient to show future danger.

Petition at 64–66. Hummel specifically argues that the State focused almost entirely

and exclusively on the facts of the crime as support for finding that Hummel was a

future danger. Id. at 64–65. Minimalizing the facts of the murders, Hummel argues

that the State’s evidence showing Hummel’s potential for future acts of violence was

“marginal” because Hummel lacked a criminal record, had no history of disciplinary




3      (Terry) Williams v. Taylor, 529 U.S. at 362.

4      Wiggins v. Smith, 539 U.S. 510 (2003).

5      Rompilla v. Beard, 545 U.S. 374 (2005).

6       Hummel raised this claim as the last in a series of other IATC claims; however, all
the remaining IATC claims relate to the mitigation case presented by trial counsel, and the
instant claim relating to a simple failure to argue that the State’s evidence, standing alone,
was insufficient to show future danger is the broadest of those claims. Therefore, the Director
is addressing the broadest claim first. The remaining IATC claims will be addressed in the
order they are raised in Hummel’s federal petition. And, the portion of this claim related to
the ineffective assistance of appellate counsel is addressed under the IAAC section below. See
Argument, III.A, infra.


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incidents while in pre-trial incarceration, and had not committed any type of

aggressive or violent act throughout his life. Id. at 65. Thus, Hummel contends that

the State failed to meet its burden to show that Hummel was a future danger, and

trial counsel was ineffective for failing to argue that issue. Id. However, such an

allegation is contradicted by the record, and the state court therefore reasonably

denied his claim.

       As a preliminary matter, Hummel fails to support his claim with any legal

principles regarding the sufficiency of the State’s future dangerousness case.7 See

Petition at 64–66. Hummel wholly fails to explain how trial counsel were deficient or

that any such deficiency prejudiced the defense, and thus, this claim is entirely

conclusory. See Schlang v. Heard, 691 F.2d 796, 799 (5th Cir. 1982), (explaining that

“[m]ere conclusory statements do not raise a constitutional issue in a habeas case”).




7       Hummel does allege that his state habeas claim 2, which corresponds to the federal
claim 1-F, “is really a Wiggins and Wong argument,” but it is unclear what this argument
refers to, as the claim presented to the state habeas court did not refer to counsel’s failure to
investigate and present evidence. See 1 SHCR 50–54. To the extent that this portion of his
claim—which was not part of state habeas claim 2—repeats and incorporates counsel’s
failure to investigate and present the evidence alleged in his remaining IATC claims, such
claims will be addressed below and the prejudice analysis under Wiggins and Wong v.
Belmontes, 558 U.S. 15 (2009), conducted accordingly. See Section II.B, infra. To the extent
that Hummel is attempting to add something new, such a new claim was not presented to
the state court and would thus be unexhausted and procedurally barred. See Nickleson v.
Stephens, 803 F.3d 748, 753 (5th Cir. 2015). Additionally, to the extent that counsel’s
reference to “the subsections above” is an attempt to cumulate error, such a claim is also
unexhausted and procedurally barred and, moreover, without merit, as Hummel fails to show
that he is entitled to relief on any of his independent IATC claims. See Section II.B, infra;
Coble v. Quarterman, 496 F.3d 430, 440 (5th Cir. 2007) (holding that federal habeas relief is
only available for cumulative errors that are of a constitutional dimension and, because none
of the petitioner’s ineffective assistance claims satisfied both prongs of Strickland, the
petitioner had not presented any errors of constitutional dimension); United States v. Moye,
951 F.2d 59, 63 n. 7 (5th Cir. 1992) (“Because we find no merit to any of Moye’s arguments of
error, his claim of cumulative error must also fail”).


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         Nevertheless, Hummel raised this claim in his state habeas application. 1

SHCR 50–54. Hummel’s attorneys responded via affidavit, and the state court found

that Hummel failed to prove deficiency or prejudice. 2 SHCR 527–556, 769–778; 4

SHCR 1413. It thus denied relief on this claim. Ex parte Hummel, 2016 WL 537608,

at *1.

         When examining counsel’s closing argument to determine whether it was

proper, the Court must consider the closing argument in its entirety. Riley v. Cockrell,

339 F.3d 308, 317 (5th Cir. 2003). Here, the record clearly refutes Hummel’s

allegation, and the state court correctly found that Hummel’s trial counsel did in fact

argue that the State’s evidence did not support a finding of future dangerousness. 4

SHCR 1403. Indeed, the record shows that, when considering the argument in its

entirety, trial counsel Moore explicitly made even the specific arguments Hummel

asserts that they failed to make. In particular, Moore made the following argument:

         In order for you to answer yes [to the future danger question], each one
         of you have to be convinced in your own heart, your own mind, that the
         only answer is yes and that they have provided it to you. And I submit
         to you that they just haven’t. There is no testimony before you from any
         source in any place that before this offense and the weeks leading up to
         this offense, . . . in the 35 years he’s lived, he’s never been violent to
         anybody.

45 RR 67. Both Moore and Cummings reiterated consistently that there was no

evidence showing that Hummel had ever been violent before, given his lack of

disciplinary and criminal record, and that the State wanted to focus only on the facts

of the crime. 45 RR 69, 72, 76, 78, 80, 82. Cummings asked the jury to consider what

role, if any, evidence of Hummel frequently visiting strip clubs played in considering




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whether Hummel was a future threat to society. 45 RR 77–78. In short, defense

counsel spent a majority of their closing statements arguing that the State had not

met its burden to show that Hummel was a future danger to society. 45 RR 65–83; 2

SHCR 770–71. Therefore, his allegation that trial counsel failed to argue that the

evidence was insufficient to show future danger is flatly untrue.

      Moreover, as the state court found, the State’s case was sufficient. 4 SHCR

1403 (finding that the State “presented compelling, overwhelming evidence to satisfy

its burden to prove beyond a reasonable doubt that [Hummel] posed a future danger

as defined in the Court’s charge to the jury”). Despite Hummel’s protestations, the

heinous nature of the crime was itself sufficient for the jury to answer the future

dangerousness special issue in the affirmative. See Statement of the Facts, Section I,

supra; see Miller v. Johnson, 200 F.3d 274, 286 (5th Cir. 2000) (finding that, under

Texas law, the facts of the crime alone can be sufficient to support a future

dangerousness finding); cf. Wong, 558 U.S. at 27–28 (“It is hard to imagine expert

testimony and additional facts about Belmontes’ difficult childhood outweighing the

facts of McConnell’s murder.”); Leavitt v. Arave, 646 F.3d 605, 616 (9th Cir. 2011)

(“Given the exceptional depravity of this murder, it is unlikely that additional

evidence . . . would have made a difference.”). As Moore summarized:

      [Hummel]’s statement wherein he details the fact that he was so
      physically tired from the murders of his wife and her father, that he had
      to take time to rest and contemplate his actions before undertaking the
      murder of his daughter, is the type of evidence which has an indelible
      impact upon jurors. When such evidence is coupled with the additional
      fact that within hours before the murder of his family, including the
      murder of his own daughter, [Hummel] was reading a bedtime story to
      the daughter of his new girlfriend, this painted such a graphic and


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      memorable portrait of [Hummel] as a person that it was probably
      impossible for anyone to overcome.

2 SHCR 935. Added to that is the cold, calculating way in which Hummel thought

about and prepared to commit the murders—he lied about whether he was going to

work; he ensured he was seen on camera at a gas station prior to the murders; he

parked behind his own house to avoid being seen; he removed some of his clothing;

he contemplated whether to kill his wife, who was many weeks pregnant at the time;

he disposed of the murder weapons and then drove around to various Walmart stores

in order to be seen on camera; he returned to the scene of the crime and acted as if he

had no knowledge about the events that had occurred; and he appeared jovial when

he checked into a hotel in California after fleeing. See Statement of Facts, Section I,

supra; see also 33 RR 152–54; 39 RR 39–44, 46, 150–51, 209. Such facts “demonstrate

forethought, deliberateness, and wanton and callous disregard for the sanctity of

human life.” 4 SHCR 1408. And, such evidence was sufficient to support the jury’s

finding of future danger. Wong, 558 U.S. at 27–28; Leavitt, 646 F.3d at 616.

      Further, even assuming the facts of Hummel’s crime are not alone sufficient to

support a finding of future danger, the state court found that the facts in addition to

the other evidence at trial “were legally sufficient to satisfy the State’s burden to

prove beyond a reasonable doubt a probability that [Hummel] would commit criminal

acts of violence that would constitute a continuing threat to society.” 4 SHCR 1412.

Indeed, the evidence the State presented in addition to the facts of the crime was

compelling. See Statement of Facts, Section II.A, supra. Most notably, the State

presented evidence showing that, prior to committing the offenses that would


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ultimately lead to the death of his family, Hummel had previously attempted to kill

them by poisoning them. 41 RR 11, 14; 42 RR 149–50; 43 RR 36–39. And, while it is

true that Hummel did not have other acts of violence in his history, the State

presented evidence of Hummel’s lifelong history of antisocial behaviors, which could

lead a jury to reasonably believe would pose a continuing threat of violence. 41 RR

17–19, 29–30; 42 RR 9–11, 27, 29, 34 98–99, 105–06, 114–15, 144; 43 RR 33; 45 RR

12, 13, 23, 38–39.

       Consequently, the state habeas court found that “any challenge to the legal

sufficiency of the evidence to prove [Hummel]’s future dangerousness would have

been rejected by this Court and would have been futile.” 4 SHCR 1403. Thus, the

state court found that Hummel had not shown that counsel were deficient for failing

to challenge the State’s case. Id. at 1412–13. And, the state court found that there is

“no reasonable probability that the outcome of the punishment phase of [Hummel]’s

trial . . . would have been different had trial . . . counsel advanced meritless challenges

to the legal sufficiency of the evidence to prove [Hummel]’s future dangerousness.”

Id. at 1413. Hummel wholly fails to show that the state court’s denial of this claim

was contrary to, or an unreasonable application of, clear Supreme Court precedent.

Nor does Hummel show that the decision was unreasonable in light of the evidence

presented before the state court. Thus, Hummel fails to meet his burden under

AEDPA, and this Court should deny his claim.




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      B.     Counsel effectively investigated and presented witnesses in
             mitigation of punishment (claims 1-A through 1-E).

      In his remaining IATC claims, Hummel faults his trial counsel for failing to

investigate and present various lay and expert witnesses. Petition at 22–63. Hummel

specifically alleges that trial counsel should have investigated and presented

sufficient evidence regarding his non-violent history while incarcerated, his alleged

personality disorder, his cohesive life history, and his military service. Id. Had the

jury heard this additional evidence, Hummel claims that there was a reasonable

probability that at least one juror would have voted for life. Id. Hummel essentially

chastises his trial counsel for not exploring every branch and turning over every leaf

they could find. But, as discussed in further detail below, trial counsel’s extensive

investigation and development of mitigating evidence was objectively reasonable

under the circumstances. And, due to either the false, cumulative, or double-edged

nature of the evidence Hummel now presents, along with the overwhelming evidence

presented by the State during punishment, Hummel simply cannot show that the

jury would have answered the special issues differently but for counsels’ alleged

errors. As such, Hummel fails to demonstrate either prong of the Strickland test, and

this Court should therefore deny Hummel’s instant allegation.

      “Mitigating evidence that illustrates a defendant’s character or personal

history embodies a constitutionally important role in the process of individualized

sentencing, and in the ultimate determination of whether the death penalty is an

appropriate punishment.” Riley, 339 F.3d at 316 (citing Moore v. Johnson, 194 F.3d

586, 612 (5th Cir. 1999)). Accordingly, “counsel has a duty to make reasonable


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investigations or to make a reasonable decision that makes particular investigations

unnecessary.” Strickland, 466 U.S. at 691. The Supreme Court has observed that

“strategic choices made after thorough investigation of law and facts relevant to

plausible options are virtually unchallengeable; and strategic choices made after less

than complete investigation are reasonable precisely to the extent that reasonable

professional judgments support the limitations on investigation.” Id. at 690–91.

      Thus, a particular decision not to investigate further “must be directly assessed

for reasonableness in all the circumstances,” and a heavy measure of deference is

given to counsel’s strategic decisions. Id. at 691. And, “[c]ounsel’s decision to pursue

one course rather than another is not to be judged in hindsight,” and the fact that a

particular strategy may prove to be unsuccessful does not by itself establish

ineffective assistance. Gray v. Lucas, 677 F.2d 1086, 1094 (5th Cir. 1982). Indeed, a

“conscious and informed decision on trial tactics and strategy is not a permissible

basis for a claim of ineffective assistance of counsel unless the strategy was so poor

that it robbed the defendant of any opportunity to get a fair trial.” Smith v. Cockrell,

311 F.3d 661, 668 (5th Cir. 2002) (internal quotation marks and citation omitted).

      In terms of a mitigation investigation, an inmate “‘must allege with specificity

what the investigation would have revealed and how it would have altered the

outcome of the trial.’” Druery v. Thaler, 647 F.3d 535, 541 (5th Cir. 2011) (quoting

Nelson v. Hargett, 989 F.2d 847, 850 (5th Cir. 1993)). In assessing reasonableness in

this context, the courts should “conduct an objective review of [counsel’s]

performance, measured for ‘reasonableness under prevailing professional norms,’”




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which must include a “context-dependent consideration of the challenged conduct as

seen ‘from counsel’s perspective at the time.’” Wiggins, 539 U.S. at 523 (citing

Strickland, 466 U.S. at 688–89). The question of the effectiveness of pretrial

investigation is one of degree; it is not subject to precise measurement. Strickland,

466 U.S. at 680; Dowthitt v. Johnson, 230 F.3d. 733, 743 (5th 2000). Indeed,

“Strickland does not require counsel to investigate every conceivable line of

mitigating evidence no matter how unlikely the effort would be to assist the

defendant at sentencing.” Wiggins, 539 U.S. at 533. “[R]easonably diligent counsel

may draw a line when they have good reason to think further investigation would be

a waste.” Rompilla, 545 U.S. at 383.

      Relatedly, for uncalled witnesses, an inmate must name the witness, prove the

witness’s availability, allege what the witness would have testified to, and explain

how such testimony would have been beneficial. Day v. Quarterman, 566 F.3d 527,

538 (5th Cir. 2009). Specificity on both issues is necessary because, to assess the

likelihood of a different result, reviewing courts “reweigh the evidence in aggravation

against the totality of available mitigating evidence.” Wiggins, 539 U.S. at 534. And,

in order to answer that question, it is necessary to consider all the relevant evidence

a jury would have had before it if counsel pursued a different path—not just the

mitigation evidence counsel should have presented, but also any potentially

damaging aggravating evidence that would come along with it. See Wong, 558 U.S. at

20.




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             1.     Tarrant County Jail guards (claim 1-A)

      Hummel first alleges that his trial counsel were ineffective for failing to

investigate and present evidence from Hummel’s pretrial incarceration showing that

he was not a future danger. Petition at 22–41. Hummel specifically argues that trial

counsel were ineffective for not calling three jail guards—Detention Officers Cody

Bell, Tommy Rigmaiden, and Rory Thomas—who purportedly would have testified

that Hummel was always categorized as a “low-risk” inmate and was otherwise quiet,

respectful, pleasant, and never caused any trouble. Id. at 23. Hummel alleges that

the guards would have additionally testified that Hummel complied with all the rules

and never received any disciplinary infractions while he was incarcerated. Id.

However, Hummel fails to show that the state court unreasonably denied this claim.

      In declining to provide Hummel relief on this claim, the state court found that,

while it is true that Hummel’s trial counsel did not identify the three officers during

their investigation, it was reasonable trial strategy for counsel not to focus their

investigative efforts on jail personnel. 4 SHCR 1414. In his affidavit before the state

court, Moore averred that, in his experience, testimony from jail personnel is not

particularly favorable to the defense at trial unless the defense can also establish

some personal relationship between the jailer and the defendant. 2 SHCR 934. When

any of the defense team members attempted to ascertain whether any such

relationship might exist between Hummel and his jail guards, the state court found

that Hummel provided no helpful information whatsoever to further their

investigative efforts—he did not name a single guard who might be helpful, he was



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not encouraging that any such witness even existed, and he in fact indicated that

investigative efforts would not yield anything. 2 SHCR 771, 773; 4 SHCR 1414–15.

Nor do the jail records that Hummel attempts to use to discredit counsel’s

investigative efforts indicate any personal relationship or affinity with Hummel. 4

SHCR 1415.

      And, while Hummel is correct to point out that the duty to investigate and seek

out witnesses lies with trial counsel and not the defendant, the Supreme Court has

noted that trial counsel’s actions are substantially influenced by information supplied

by the defendant, and the reasonableness of investigative decisions depends on this

information. See Schriro v. Landrigan, 550 U.S 465, 476–77 (2007) (finding that

where the defendant interferes with counsel’s attempts to present a case in

mitigation, he cannot later claim ineffective assistance). Here, the representations

made by Hummel, coupled with other observations and strategic choices, gave trial

counsel sound reason to think that additional investigation into this avenue of

evidence would have been fruitless. See Strickland, 466 U.S. at 691 (“[W]hen a

defendant has given counsel reason to believe that pursuing certain investigations

would be fruitless or even harmful, counsel’s failure to pursue those investigations

may not later be challenged as unreasonable.”); see also Rompilla, 545 U.S. at 383

(“[R]easonably diligent counsel may draw a line when they have good reason to think

further investigation would be a waste.”). Additionally, Cummings noted in his

affidavit that he had observed that Police Chief Alan Dennis had an “extraordinary

interest” in Hummel’s case. 2 SHCR 773. Counsel believed that, based on their past




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experience, such an interest by the Chief of Police, along with a general unwillingness

to talk to supervisors or the State, would have had a “chilling effect” on any guard’s

willingness to provide favorable testimony for Hummel. 2 SHCR 773, 934.

      Thus, it is reasonable to believe that counsel strategically decided that further

investigation would have been pointless. As the state court found:

      Given [Hummel]’s failure to identify any jail personnel with whom he
      had developed such [a] close relationship, [Hummel]’s lack of
      encouragement that such witnesses might be found, and [counsel]’s
      experiences in seeking testimony from jail personnel, it was not
      unreasonable for trial counsel to make the strategic investigative
      decision to focus their efforts on areas that might prove more beneficial
      to [Hummel]’s case.

4 SHCR 1415. The state court properly found that trial counsel’s failure to discover

the three jailers was not a result of inadequate investigation, and they properly

exercised their prerogative to not call the jailers as witnesses. 4 SHCR 1419–20.

      Moreover, the evidence Hummel alleges the jail guards would have testified to

would have proven either false or cumulative. Indeed, Hummel’s allegation that he

was classified as a “low-risk” inmate is belied by the record. Specifically, Hummel

alleges that the jail guards would have testified that Hummel always “wore a green

uniform and was thus considered ‘low-risk.’” Petition at 23. However, as the state

habeas court found, the jail records reflect that Hummel was classified as a “high

risk” inmate, who was on suicide watch and required Mental Health and Mental

Retardation services. 4 SHCR 1416; 2 SHCR 791–92. In fact, Cummings explained

that Hummel was originally classified as medium risk, but that status was

overridden by Chief Dennis when he ordered an upgrade to high custody because of




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the high-profile nature of Hummel’s case and because of the reasons previously listed.

2 SHCR 772, 791. Cummings admitted that Hummel was in a green jumpsuit

whenever he saw him, but Cummings’ experience—as confirmed by Hummel’s jail

record—was that green jumpsuits were for suicidal inmates, and Hummel had

admitted to Cummings that he said something that could be construed as suicidal.

Id. at 772. As noted by Cummings, while Hummel may have been a model inmate,

the jail records certainly do not reflect that he was classified as a “low-risk” inmate.

Id. at 773.

      And, as the state habeas court found, the remaining facts that Hummel wishes

trial counsel had presented—that Hummel was a respectful inmate who complied

with the rules and had no disciplinary actions against him—“serve largely the same

purpose as and are largely cumulative of other evidence that [Hummel] had no

disciplinary issues while confined in jail, that he would likely adjust well to a prison

setting if he were sentenced to life without parole, and that he allegedly posed a low

risk of future violence.” 4 SHCR 1415–16. Indeed, the state habeas court found, and

the record reflects, that defense counsel presented two expert witnesses and many

lay witnesses to show Hummel’s lack of disciplinary issues in jail, his lack of violent

or criminal history, and the likelihood that he would adapt well to life in prison. Id.

at 1415; see Statement of Facts, Section II.B, supra.

      Specifically, expert Frank AuBuchon testified that he believed Hummel would

adjust well to life in prison and would be classified at the minimum acceptable risk

level for his offense. 44 RR 64, 67, 69, 73. AuBuchon based his belief on his review of




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the jail records and the fact that Hummel had behaved himself well during the year

he was in pretrial incarceration, specifically focusing on his lack of disciplinary

activity. Id. Expert Dr. McGarrahan also testified that Hummel had done well in

structured environments. 44 RR 159–60. And, numerous lay witnesses testified that

Hummel had never been violent and was a quiet, pleasant person. 43 RR 60, 113–14,

126, 139–40, 160, 178, 193, 232, 253. Moreover, as discussed previously and as found

by the state court, trial counsel’s closing arguments were centered on the idea that

Hummel did not pose a future danger if sentenced to life imprisonment, “based in

part on AuBuchon’s testimony and because [Hummel] had no history of violence, no

prior criminal history, and no issues during his incarceration in jail.” 4 SHCR 1415;

Argument, Section II.A, supra.

      Thus, the state court correctly concluded that the proposed testimony of the

three guards “provides no meaningful new facts about [Hummel]’s pretrial

confinement” or about his potential for future danger “that [Hummel]’s trial counsel

did not develop through other witnesses.” 4 SHCR 1415. Hummel merely “overrates

the potential impact of the facts contained in the habeas affidavits . . . and unfairly

overlooks or underrates the testimony presented through Dr. McGarrahan,

AuBuchon, and lay witnesses.” Id. at 1416.

      But, as Hummel himself acknowledges, the failure to present cumulative

evidence that Hummel would not pose a future danger is not deficient performance.

Id. at 1423 (citing Coble v. Quarterman, 496 F.3d 430, 436 (5th Cir. 2007)). Hummel’s

attempts to distinguish Coble from the instant case are unavailing. Indeed, Hummel




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focuses, in part, on the fact that the petitioner in Coble had not presented evidence of

the proposed testimony, but rather had merely speculated as to what that testimony

might be. See Petition at 26 (citing Coble, 496 F.3d at 436). However, while it is true

that, in the instant case, Hummel has presented actual, not speculative, evidence of

what the witnesses would have testified to, the fact remains that such testimony is

now assuredly— not speculatively—cumulative. Hummel’s argument hurts, rather

than helps, him. As Moore pointed out in his affidavit, Hummel essentially disputes

“the manner in which [they] presented that evidence to the jury, and the witnesses

which [they] used for that purpose, rather than [their] failure to present any evidence

at all.” 2 SHCR 934. Such a claim cannot form the basis for deficient conduct on the

part of Hummel’s trial counsel. Strickland, 466 U.S. at 691

      Even assuming counsel was somehow deficient, Hummel cannot show

prejudice when weighing the proffered mitigating evidence against the aggravating

evidence presented at trial. See Strickland, 466 U.S. at 698 (finding no prejudice due

to State’s overwhelming evidence on aggravating factors supporting the death

penalty); Jones v. Johnson, 171 F.3d 270, 277 (5th Cir. 1999) (finding no prejudice

due to brutal facts of murder); Russell v. Lynaugh, 892 F.2d 1205, 1213 (5th Cir. 1989)

(finding no ineffective assistance “[g]iven the weakness of such testimony when

juxtaposed with the overwhelming evidence of guilt, the horrifying nature of the

crime, and the abundant impeachment material available to the State”).

      As the evidence previously set forth demonstrates, Hummel is a violent

individual. See Statement of Facts, Section I, supra; Argument, Section II.A, supra.




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Indeed, Hummel’s “annihilation of his family, and his demeanor and actions before

and afterward (many of which were documented on video recordings seen by the jury),

demonstrated [Hummel]’s cold-hearted capacity for extreme violence and sufficed to

establish future dangerousness.” 4 SHCR 1419. And, as the state court concluded, it

is not reasonable to believe that the proposed evidence, i.e. further evidence that

Hummel behaved well while in prison, would have significantly diminished the

State’s case, when weighed with other evidence on the record. Id. at 1420.

      Indeed, because much of the evidence that Hummel faults counsel for failing

to uncover was actually presented in some form to the jury, any additional testimony

regarding such evidence would have been cumulative of evidence already admitted at

trial. See Parr v. Quarterman, 472 F.3d 245, 258 (5th Cir. 2006); Motley v. Collins, 18

F.3d 1223, 1228 (5th Cir. 1994). Thus, the omission of such evidence was not

prejudicial. And, even if further evidence of Hummel’s classification status had been

presented, it would have “provided little, if any, benefit to [Hummel]’s punishment

case because [Hummel]’s jury could have reasonably assumed that [Hummel] had no

disciplinary issues in jail because his classification left him little opportunity to

violate the rules or because [Hummel] was on his best behavior pending his capital-

murder trial where he faced the death penalty.” 4 SHCR 1416. As such, the proposed

testimony Hummel believes counsel should have proffered is insignificant when

considered against the entire body of the State’s aggravating evidence. See Wong, 558

U.S. at 20. Hummel cannot prove prejudice.




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      Hummel relies on Skipper v. South Carolina, 476 U.S. 1 (1986), to show that

the state court’s decision was unreasonable. In Skipper, the only evidence petitioner

had presented of his good behavior in prison was testimony from petitioner himself

and his former wife. 476 U.S. at 3. When the trial court refused to admit testimony

of two jailers and one visitor to the jail to show that he had made a good adjustment

in prison, the Supreme Court held that such exclusion of evidence deprived petitioner

of his right to place relevant mitigating evidence before the sentencer. Id. at 5.

      In rejecting the State’s argument that the proposed evidence was cumulative

of the testimony at trial, the Court held that the proffered evidence was not

cumulative because the evidence at trial was “the sort of evidence that a jury

naturally would tend to discount as self-serving.” Id. at 9. “The testimony of more

disinterested witnesses—and, in particular, of jailers who would have had no

particular reason to be favorably predisposed toward one of their charges—would

quite naturally be given much greater weight by the jury.” Id. Therefore, the Court

could not “confidently conclude that credible evidence that petitioner was a good

prisoner would have had no effect upon the jury’s deliberations.” Id. (emphasis

added).

      Skipper is clearly distinguishable from the instant case. Indeed, not only was

evidence of Hummel’s good behavior presented through disinterested and credible

witnesses at his trial, but their observations and opinions were based on objective jail

records showing those facts to be true. Neither AuBuchon, nor Dr. McGarrahan, nor

many of the lay witnesses would be the type of “self-serving” witnesses that a jury




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would discount. And, the state court here does not say that evidence of his behavior

while incarcerated was somehow irrelevant; the state court simply says that this

relevant evidence was already presented through credible witnesses at trial. See 4

SHCR 1416. Thus, the state court correctly concluded that, “[g]iven the cumulative

nature of the evidence contained in the habeas affidavits of Rigmaiden, Thomas, and

Bell, [Hummel] has not met his burden to establish a reasonable probability that the

jury would have answered the future-dangerousness special issue differently had

trial counsel discovered and called those witnesses to testify during the punishment

phase of [Hummel]’s trial.” Id. at 1425.

      Finally, Hummel must overcome the doubly-difficult-to-surmount bar that

favors Judge Gonzalez’s findings and conclusions, which carry the especially strong

presumption that can only be overcome with clear and convincing evidence. 28 U.S.C.

§ 2254(e)(1); Richter, 562 U.S. at 101–02; Clark, 202 F.3d at 764; Buxton, 879 F.2d at

146. Hummel, however, truly fails to show an inadequate investigation. Moreover, he

fails to show how such an investigation would have resulted in evidence that makes

him less morally culpable. Hummel fails to prove both prongs of Strickland. And, he

fails to overcome the doubly difficult and especially strong presumption that favors

the state court’s decision. Thus, Hummel’s claim must fail.

             2.    Complex Post-Traumatic-Stress-Disorder expert (claim 1-
                   B)

      Hummel next contends that counsel were ineffective for failing to present

expert Dr. Susan Hardesty to explain how Hummel’s past patterns of behavior and

mental status did not support a finding of future danger. Petition at 23. Hummel


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specifically alleges that he suffered from complex Post-Traumatic-Stress-Disorder

(“C-PTSD”) “due to attachment trauma caused by his parents’ neglect, physical

abuse, and social isolation.” Id. at 24. Hummel argues that Dr. Hardesty would have

opined that, while Hummel had committed a violent and serious crime, she believed

that his long-term risk of violence was low to moderate in a prison setting, based on

Hummel’s lack of a violent history, his normally passive and escapist coping

mechanism, the lack of financial or familial stressors in prison, the lack of

opportunities to form attachments in prison, and his acceptance of his personal

responsibility. Id. at 24–25. Had this disorder been presented through expert

testimony, Hummel argues, the defense would have shown the jury that the triple

murder he committed in December 2009 stemmed from a post-trauma response that

occurred as a result of him “reliving the attachment trauma of his youth.” Id. at 24.

Hummel argues that this would have shown that he was not a future danger. Id. at

23. The record indicates, however, that counsel had clear strategic reasons for

avoiding expert testimony that showed Hummel was not a future danger. Hummel,

therefore, cannot overcome the strong presumption that counsel’s conduct fell within

the wide range of reasonable professional assistance under the Strickland standard.

And, Hummel fails to show that he was in any way prejudiced by his counsel’s alleged

deficiencies. Thus, this Court should deny his instant allegation.

      In rejecting Hummel’s claim, the state court found that Hummel’s trial counsel

were not deficient in failing to present the expert testimony of Dr. Hardesty. 4 SHCR

1419. First, the state habeas court found that trial counsel exercised reasonable trial




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strategy in choosing to present Dr. McGarrahan as an expert witness and not another

mental health expert to show that Hummel was not a future danger. Id. at 1469.

Indeed, the state court found that trial counsel thoroughly investigated Hummel’s

background to see how the various factors of his childhood affected his actions. Id. at

1417; 2 SHCR 532–33. During that pretrial investigation, “it soon became apparent

that [counsel] would need a psychological evaluation done of Mr. Hummel, in order

to adequately investigate and document the possible mental and emotional issues

[they] felt might exist with Mr. Hummel.” 2 SHCR 532–33.

        To that end, Dr. McGarrahan was an experienced and licensed forensic

psychologist who specialized in neuropsychology. 44 RR 118. Dr. McGarrahan spent

eleven hours interviewing Hummel, talked to Hummel’s family, and reviewed a

substantial number of records related to Hummel’s background. 2 SHCR 547–48; 44

RR 121–24. Trial counsel strategically chose Dr. McGarrahan because of trial

counsel’s prior experience with her, her reputation in the legal community, and

because counsel believed that Dr. McGarrahan’s findings and opinions would stand

against the State’s expert Dr. J. Randall Price if he was called. 2 SHCR 533; 4 SHCR

1417.

        As the state court found, Dr. McGarrahan ultimately testified to every

personality disorder she found to exist based on her review and investigation. 4 SHCR

1468. Dr. McGarrahan testified that Hummel did not suffer from any of the Axis I

mental disorders but did suffer from personality disorder, not otherwise specified. 44

RR 126. Dr. McGarrahan testified that Hummel’s upbringing and background played




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a large role in the development of his personality and focused in particular on

“attachment issues and personality traits” resulting from his relationship with his

mother as a child. 4 SHCR 1417; 44 RR 133–45. Dr. McGarrahan believed Hummel

committed the crimes “in a flood of emotional rage” that was a result of thirty years

of repression of the negative emotions he experienced through his many failed

relationships. 44 RR 138, 141–42.

      Further, in his affidavit, Moore “heartily disputed” that they should have

obtained and presented an expert on future dangerousness:

      [W]e specifically discussed with [Dr. McGarrahan] whether or not she
      should do a formal violence risk assessment of Mr. Hummel. Due to the
      nature of the personality disorder that she determined Mr. Hummel
      suffers, and the results of the objective psychological tests administered
      by her to him, she indicated that many of the traits that she found to
      exist in connection with his personality disorder are also characteristics
      of psychopathy. She indicated that she felt that if she were to do a formal
      violence risk assessment using a standardized risk assessment
      instrument such as the Psychopathy Checklist Revised (PCLR), or the
      Violence Risk Assessment Guide (VRAG), that Mr. Hummel would in all
      likelihood not have scored “excessively high;” however, neither would he
      have likely scored “low” either. She indicated that he would in all
      probability score in the “moderate” to “moderately high risk” range, and
      it was our consensus belief that such a finding would not have been
      helpful testimony for us.

2 SHCR 532–34 (emphasis in original). Moore also concluded that, because the trial

court would limit the State’s evaluation of Mr. Hummel to those issues and tests

which the defense focused on and used, they would be “able to insure that the State’s

expert would not be able to do one as well.” Id. at 534. Having worked with Dr. Price

previously, Moore knew that, if given the opportunity, Dr. Price would conduct the

same type of violence risk assessment that counsel and Dr. McGarrahan discussed,

and he, therefore, believed that it would be against Hummel’s best interest to present

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the State with such an opportunity. Id. Counsel even considered more creative ways

of obtaining that information:

      Mr. Cummings and I even specifically discussed the feasibility of
      obtaining another mental health expert (other than Dr. McGarrahan)
      for purposes of doing such a risk assessment, just in order to see how it
      might result (specifically Dr. Mark Cunningham, another mental health
      expert with whom I had previously worked, and who has significant
      experience and expertise in risk assessment). Our thinking was that if
      the results of such an assessment were not helpful, then we would
      simply not use him as a witness; however, we determined that we would
      not be able to “keep secret” the use of such an additional expert, so we
      ultimately determined that pursuing such a possibility would not be in
      Mr. Hummel’s best interest for the reasons set out herein.

2 SHCR 534. Counsel thus adopted the strategy mentioned previously by presenting

only an expert (Dr. McGarrahan) on the issue of how Hummel’s mental health and

personality issues should be considered in mitigation of punishment, and not one on

future dangerousness. Id. at 532–34; see also 4 SHCR 1417 (finding that trial counsel

and Dr. McGarrahan strategically decided that it was not in Hummel’s best interest

to perform a formal violence risk assessment).

      Further, with regard to the decision of whether to call an expert about the C-

PTSD resulting from attachment trauma diagnosis specifically, Moore did not believe

that calling Dr. Hardesty would have been effective trial strategy, as serious doubts

exist as to whether her testimony would have survived a reliability challenge. 2

SHCR 534–35. As noted by both Moore and the state habeas court, Dr. Hardesty does

not rely on any risk assessment measures or any scientific or statistical comparisons

in order to arrive at her diagnosis. Id.; 4 SHCR 1418 (“Dr. Hardesty’s habeas affidavit

does not disclose the scientific methodology by which she reached her opinion or




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contain any objective source material to substantiate the validity or appropriateness

of her methodology.”); 2 SHCR 200–208. Indeed, Dr. Hardesty herself acknowledges

that C-PTSD cannot be found within the two major diagnostic manuals—the

Diagnostic and Statistical Manual of Mental Disorders (“DSM”) or the International

Statistical Classification of Diseases and Related Health Problems (“ICD”). 2 SHCR

207. In Moore’s experience, diagnoses for disorders not contained within diagnostic

manuals are subject to attack on that basis alone. Id. at 941. Moore was therefore

reasonably “skeptical about the jury’s willingness to give credence and/or weight to

the diagnosis of a mental disorder which lacks formal recognition within any of the

universally accepted diagnostic manuals.” 2 SHCR 941–42.

      Nor does counsel believe that a jury would be swayed by a doctor’s attempt to

explain Hummel’s denials of emotional abuse or neglect as itself indicative of C-

PTSD, as such denials present “a unique and challenging” evidentiary problem when

attempting to support and defend such a diagnosis before a jury. 2 SHCR 936, 941–

42; 4 SHCR 1740. As Moore explains, “It has been my experience from having tried

criminal cases for more than thirty-five years, that jurors are reticent to accept

‘learned opinions’ in the face of a lack of an evidentiary basis with which to support

that opinion.” 2 SHCR 941. Thus, it was certainly reasonable that trial counsel

strategically decided that Dr. McGarrahan’s testimony regarding Hummel’s

background, his attachment issues, and her diagnoses of personalities found within

widely-accepted diagnostic manuals was a preferable strategy over the type of

testimony Dr. Hardesty now proffers.




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       The state court found that counsel properly exercised their prerogative to call

Dr. McGarrahan instead of another expert. 4 SHCR 1419. And, unless Hummel can

demonstrate that counsel’s chosen strategy “was so poor that it robbed [him] of any

opportunity to get a fair trial,” challenging counsel’s informed decisions on trial

tactics is not a permissible basis for a claim of ineffective assistance of counsel. Smith,

311 F.3d at 668. Hummel does no such thing. Instead, as the state habeas court found,

Hummel engages in the type of second-guessing of his trial counsel’s strategic

decisions that is impermissible. 4 SHCR 1424; Strickland, 466 U.S. at 689.

       Indeed, federal law is clear that whether or not to retain a defense expert is

the very sort of trial decision that is insulated from ineffective assistance claims and

disfavored on federal habeas review because it is a matter of strategy. See Yohey v.

Collins, 985 F.2d 222, 228 (5th Cir. 1993) (“Given the almost infinite variety of

possible trial techniques and tactics available to counsel, this Circuit is careful not to

second guess legitimate strategic choices.”). Counsel cannot be considered ineffective

for not hiring every kind of expert to contest the State’s case or develop a theory that

might have supported Hummel’s defense. See Smith v. Collins, 977 F.2d 951, 960 (5th

Cir. 1992) (“The defense of a criminal case is not an undertaking in which everything

not prohibited is required. Nor does it contemplate the employment of wholly

unlimited time and resources.”). Nor does Strickland require counsel to “canvass[]

the field to find a more favorable defense expert.” Dowthitt, 230 F.3d. at 748; see also

Poyner v. Murray, 964 F.2d 1404, 1419 (4th Cir. 1992) (explaining that the Sixth




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Amendment does not require attorneys to “shop around” for more favorable expert

testimony).

      And, although Hummel is convinced that testimony regarding his mental

disorders would have had significant value as mitigating evidence, it was reasonable

for counsel to believe that such evidence was more likely to be perceived as

aggravating, rather than mitigating, to a jury. For instance, evidence that Hummel

suffered from C-PTSD and, as a result, was susceptible to violent “emotional rages”

could be more damaging than beneficial to Hummel because it could be used to show

the jury that he continues to be a dangerous person. Using a condition (C-PTSD) that

he developed over thirty years prior the murder to excuse his acts as essentially

beyond his control could also appear callous to a jury and could potentially bolster

the State’s contention that Hummel was a person who no longer, if ever, had any

internal restraints.

      As a result, such evidence is, at best, a double-edged sword which could

reasonably be construed as more likely to prove harmful to Hummel than to serve as

mitigating evidence against a death sentence. See Wiggins, 539 U.S. at 535 (Wiggins’s

history “contained little of the double edge we have found to justify limited

investigations in other cases.”); Kitchens v. Johnson, 190 F.3d 698, 702–03 (5th Cir.

1999) (finding counsel’s decision not to investigate mitigating evidence of child abuse,

alcoholism, and mental illness was sound strategy where evidence was “double-

edged” in nature). Thus, the state court accurately found that, even if Hummel was

diagnosed with C-PTSD, trial counsel were still not required to present that evidence




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because such a diagnosis could reasonably be seen by a jury as evidence of future

dangerousness. 4 SHCR 1469. Given the potential damage it could cause, counsel’s

decision not to further investigate or present evidence of Hummel’s alleged mental

health disorder in other to show he was not a future danger was clearly reasonable

in light of the circumstances. Hummel fails to overcome the strong presumption that

counsel’s conduct fell within the wide range of reasonable professional assistance.

       Nor does Hummel demonstrate that the state court was unreasonable when it

found that Hummel had failed to show that he was in any way prejudiced by trial

counsel’s alleged deficiencies with regard to Dr. Hardesty. 4 SHCR 1474. As discussed

previously, the aggravating evidence in this case, especially given the facts of the

crime, is powerful. See Argument, Section II.A, supra; 4 SHCR 1425. And, despite the

fact that the jury heard about Hummel’s attachment and personality issues through

Dr. McGarrahan, the jury simply did not find such attachment issues “sufficiently

mitigating to absolve [Hummel] of moral blameworthiness for his premeditated,

calculated, heinous acts.” Id. at 1471.

       Moreover, notwithstanding whether Dr. Hardesty’s opinion testimony would

have been admissible,8 the state habeas court found that her testimony was not so




8      Hummel focuses much of his argument on the state court’s finding that Dr. Hardesty’s
testimony does not satisfy the reliability requirements of Texas Rule of Evidence 702
“[b]ecause her determination that [Hummel] would not be a future danger if he were
sentenced to life in prison is the same type of unreliable predication of future dangerousness
rejected as unreliable in Coble v. State, 330 S.W.3d 253 (Tex. Crim. App. 2010).” Petition at
34; 4 SHCR 1424. However, whether or not Dr. Hardesty’s testimony would have been
admissible in this case is irrelevant to the prejudice analysis that follows because such an
analysis assumes for the sake of argument that it would have been and addresses only the
weight of the proffer. Therefore, Hummel’s attempts to distinguish Coble are inapposite.


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compelling that it would have changed the jury’s answer to the future dangerousness

question. 4 SHCR 1418, 1471. Indeed, as discussed previously, C-PTSD is not a

formally recognized diagnosis; instead, it is just—as Dr. Hardesty herself described

it—a “clinical diagnosis founded in learned opinion in a rapidly growing body of

psychiatric, psychological and neuroscience literature on neuron connectivity in

childhood and the results of deprivation, trauma or neglect on development.” 2 SHCR

207, 839. As such, the weight given to such evidence by the jury would have been

minimal.

      Further, the fact that evidence of a mental illness could be perceived as

aggravating, as well as mitigating, bodes in favor of finding no prejudice. See 4 SHCR

1469. The Fifth Circuit has denied claims such as the one Hummel presents for lack

of prejudice due to the double-edged nature of evidence presented. See Trevino v.

Davis, No. 15-70019, 2017 WL 2772574, *4–5 (5th Cir. 2017) (holding that proposed

evidence showing that petitioner had Fetal Alcohol Spectrum Disorder, but also that

he was violent and involved in gang activity, was “a significant double-edged problem

that was not present in Wiggins,” and which did not prejudice petitioner); Miniel v.

Cockrell, 339 F.3d 331, 346–48 (5th Cir. 2003) (upholding the state court’s conclusion

that the petitioner was not prejudiced by counsel’s failure to investigate and present

evidence of abuse and neglect during his childhood); Ladd, 311 F.3d at 349 (failure to

present evidence of troubled childhood, mental retardation diagnosis as a child, low

IQ test score, being put on a psychomotor inhibitor, and good behavior in institutional

settings not prejudicial because some of the evidence was double edged, and the rest




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had only “minimal[]” mitigating value); Johnson v. Cockrell, 306 F.3d 249, 253 (5th

Cir. 2002) (counsel not ineffective for failing to present evidence of alleged brain

injury, abusive childhood, and drug and alcohol problems because evidence is “double-

edged”).

      Finally, because a prejudice analysis must encompass the entire body of

evidence that would have been presented to the jury had counsel pursued a different

route, the state court reasonably found that, had counsel called Dr. Hardesty to

testify that Hummel had C-PTSD, State’s witness “Dr. Price would have been

available to testify and dispute her analysis.” 4 SHCR 1470; see also Wong, 558 U.S.

at 20; see also Kansas v. Cheever, 134 S. Ct. 596, 601 (2013) (if defendant presents

evidence through psychological expert who has examined him, State is also permitted

to use, in rebuttal, testimony from expert who has examined him). Indeed, Dr. Price

is a “highly experienced forensic psychologist and neuropsychologist, who evaluated

[Hummel] at the time of trial, was present during the entire punishment phase of

trial, and was available to testify had he been called by the State to do so.” Id.

      In his affidavit, Dr. Price explained that he would have directly refuted any

diagnosis of C-PTSD on the basis that evidence of C-PTSD is “both inconsistent with

the science of psychology and with the available evidence concerning Hummel’s life

history.” 2 SHCR 998. Indeed, so many signs and symptoms have been ascribed to C-

PTSD that it has been rendered so non-specific as to not gain acceptance in the

medical community. Id. at 1001. And, although Hummel’s “childhood may have been

marked by the lack of being told he was loved, not having been hugged, being isolated




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on a farm, escaping into fantasy games, being spanked, and other forms of neglect or

even abuse,” such events are not typically within the ballpark of the circumstances

usually associated with causing C-PTSD. Id. at 1002. Moreover, Dr. Hardesty’s use

of Hummel’s denials of neglect and abuse as “evidence of abuse in and of themselves

is inappropriate.” Id. at 1003.

       Importantly, Dr. Price would have testified that he did not agree that Hummel

suffers from C-PTSD such that “he was ‘reliving’ the emotional trauma of his

childhood when he repeatedly stabbed and beat his wife to death, beat his young

daughter and father-in-law to death with a baseball bat, set the house on fire, and

fled to California.” Id. at 1002. Most damaging of all, Dr. Price would have testified

that, in reality, Hummel’s motivations for brutally murdering his family were likely

“multiple and interactive, including his frustration for having been repeatedly teased

as a child and criticized as an adult, a desire to escape financial and personal familial

obligations, and, in general, a perception of not having had the life to which he was

entitled.” Id.

       When weighing the entire body of the mitigating evidence that Hummel alleges

his counsel should have presented against the aggravating evidence that was and

would have been presented, including the testimony of Dr. Price, “there is no

reasonable probability that the jury would have been persuaded by Dr. Hardesty’s

diagnosis of C-PTSD to answer the mitigation special issue in [Hummel]’s favor.” 4

SHCR 1471. As such, Hummel cannot show that he was prejudiced by his counsel’s

alleged deficiency.




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       Because Hummel can satisfy neither prong of Strickland, the state court

reasonably denied his claim, and relief should be denied.

              3.     Life history expert (claim 1-C)

       Hummel also alleges that his trial counsel failed to investigate and call an

expert to present evidence to explain Hummel’s life history and opine as to which

elements of Hummel’s life history impacted Hummel’s development and decision-

making in mitigation of punishment. Petition at 41–45. In support of this claim,

Hummel attaches an affidavit from social worker Laura Sovine (maiden name

Smith), in which she recites a lengthy story of Hummel’s background gleaned from

lay witness testimony at trial, affidavits provided by state habeas counsel, multiple

records, and an interview with Hummel. Id. at 41–42; Pet. App. 0214.9 Sovine

concluded that Hummel “has been deeply impaired by a lack of appropriate nurturing

and attachment as a child” and suggests that, by testifying to this conclusion, she

“would have offered a window into how [Hummel] came to take the actions he did and

why his moral culpability for those actions was diminished.” Pet. App. 0243–0245.

However, Hummel wholly fails to show how his counsel were ineffective for failing to

present this testimony at trial, and this claim should be denied.

       First, he fails to show in any meaningful way that trial counsel were deficient.

He indicts counsel for not using a “social life history” expert. However, as the state

habeas court found, prevailing professional norms do not require the use of a social




9      “Pet. App.” refers to the appendix of exhibits Hummel attaches to his federal habeas
petition. See ECF Nos. 13–15.


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life history expert, and Hummel has not shown that the use of experts in regard to a

petitioner’s life history is professionally mandated. 4 SHCR 1426. Instead, Hummel’s

defense team consisted of two trial counsel, an experienced mitigation specialist with

a master’s degree and license in social work, and an experienced private investigator,

which was found reasonable by the state court. 4 SHCR 1426, 1430–31, 33. The

defense team completed a full mitigation investigation with the specific goal of using

lay witnesses that were available and helpful to present the story of Hummel’s life

and then using that story to form the basis of experts’ opinions regarding Hummel’s

mental and emotional conditions and the effects these conditions had on his life. 2

SHCR 536–37; 4 SHCR 1428–29. To that end, counsel “spent countless hours seeking

lay witnesses (including family members, friends, teachers, coaches, school

administrators, past employers, ministers and others) who had known [Hummel]

throughout his life.” 2 SHCR 936.

      Ultimately, the fruits of this extensive investigation were that nine lay

witnesses and two expert witnesses were presented at trial, all of which testified to

Hummel’s difficulty forming relationships, inability to cope when attachments fell

apart, and the impact of these facts on the murders. 4 SHCR 1429; 43 RR 109–10,

114, 126, 158–59, 176, 189–90. In particular, defense expert Dr. McGarrahan testified

to Hummel’s mother’s role in Hummel’s attachment issues and opined that the

murders happened in an emotional rage that occurred as a result of an inability to

healthily express his emotions. 4 SHCR 1429; 44 RR 133–39. Dr. McGarrahan

testified to Hummel’s difficulties forming relationships—not just romantic, but also




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platonic and familial—which, she testified, was based in part on his rapid

attachments to people who showed interest in him. 44 RR 142–44.

      Thus, while admittedly more complete, the evidence proffered in Sovine’s

affidavit is cumulative of the evidence already strategically presented by counsel at

trial, and the state court was reasonable to so conclude. 4 SHCR 1429, 1433. Because

the “substance of the testimony from Dr. McGarrahan and other witnesses developed

the important facts of [Hummel]’s life and life events and gave the jury a sufficiently

complete understanding of [Hummel]’s life history,” Hummel takes issue merely with

the degree to which trial counsel investigated and presented this evidence, and such

an argument impermissibly second-guesses counsel’s actions. 4 SHCR 1430–31,

1433–34; see Skinner v. Quarterman, 576 F.3d 214, 220 (5th Cir. 2009) (“We must be

particularly wary of arguments that essentially come down to a matter of degrees.”).

      That Hummel is judging in hindsight counsels’ decision to pursue one course

rather than another is made doubly clear by the fact that neither Hummel nor Sovine

address the unavailability of witnesses at the time of trial. See Gray, 677 F.2d at

1094; 2 SHCR 774; 4 SHCR 1430. Indeed, despite a thorough investigation, many

witnesses were simply uncooperative—several actively hid from counsel, others

threatened counsel with criminal action, and yet others said that they believed

Hummel deserved the death penalty and would testify as such if called. 2 SHCR 774,

936; 4 SHCR 1427. Counsel even had to compel Hummel’s own sister to testify at his

trial in his defense. 2 SHCR 774; 4 SHCR 1428.




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      Nevertheless, counsel called all of those witnesses they could identify and

would be helpful to the defense to provide Hummel’s complete life story and a forensic

psychologist to cohesively explain that story to the jury. 2 SHCR 774; 4 SHCR 1427.

As the state court held, such a decision was certainly reasonable trial strategy, based

on the evidence that was available to trial counsel at the time of the trial, and such

an alleged failure to retain a life history expert was certainly not the result of

inadequate investigation. 4 SHCR 1430–31. Nor does Hummel show that his trial

counsel’s strategic decision to utilize Dr. McGarrahan instead of a social history

expert like Sovine was unreasonable. Id. Thus, Hummel fails to show that trial

counsel was deficient.

      Second, Hummel fails to demonstrate that he was prejudiced by counsel’s

alleged deficiency. 4 SHCR 1429, 1431–32, 1435. Indeed, given the weight of the

State’s future danger case, see Argument, Section II.A, supra, it is not reasonable to

believe that the facts in Sovine’s affidavit would have diminished the impact of the

aggravating factors present in Hummel’s case. 4 SHCR 1431. This is particularly true

when, as discussed above, the facts presented in the affidavit are merely cumulative

of the evidence actually presented at trial, as no prejudice can result from the failure

to present cumulative evidence. See Wong, 558 U.S. at 22 (holding that adding

cumulative evidence to “what was already there would have made little difference”).

There is certainly no reason to believe that the jury would have been more persuaded

by a social worker expert than they were by a licensed psychologist and

neuropsychologist, who communicated Hummel’s life story “effectively and used




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minimal technical jargon” in doing so. 4 SHCR 1429 (citing affidavit of Dr. Price, 2

SHCR 998).

      Moreover, the state court reasonably found that the jury simply did not need a

social history expert in order to understand the evidence that was already presented

at trial regarding the difficulties in Hummel’s life; therefore, Hummel cannot show

that the outcome of the jury’s decision would have changed had they presented such

an expert. 4 SHCR 1431, 1434. Indeed, in Wong, the Supreme Court rejected an

argument similar to Hummel’s, stating:

      . . . [T]he body of mitigating evidence the Ninth Circuit would have
      required [counsel] to present was neither complex nor technical. It
      required only that the jury make logical connections of the kind a
      layperson is well equipped to make. The jury simply did not need expert
      testimony to understand the “humanizing” evidence; it could use its
      common sense or own sense of mercy.

Id. at 24. So, too, could Hummel’s jury use its own common sense—without the

assistance of a life history expert like Sovine—to understand Hummel’s background

of abuse, neglect, and difficulty forming relationships. Ignoring this, Hummel instead

asks this Court to “overlook the mitigation facts and themes actually investigated

and presented by his trial counsel and to second-guess counsel for not calling a

different witness who may have presented the evidence differently.” 4 SHCR 1432.

      And, this case is readily distinguishable from Williams, Wiggins, and

Rompilla, upon which Hummel relies. See Petition at 48–52. In Wiggins, defense

counsel offered no mitigating evidence at trial in spite of the compelling evidence of

physical and sexual abuse that was available. 539 U.S. at 516–17. Further, Wiggins’s

counsel only reviewed a Pre-Sentence Investigation report and records from the


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Department of Social Services, and the Court concluded that defense counsel were

unreasonable to cease investigation after learning that Wiggins had an alcoholic

mother and problems in foster care. Id. at 518, 522–23. In Williams, defense counsel

failed to prepare for sentencing until a week before trial; and failed to present

evidence of neglect and abuse as a child, borderline mental retardation, and

compelling evidence of a lack of future dangerousness found in his prison records.

Williams, 529 U.S. at 396. And, in Rompilla, the Court held that defense counsel were

ineffective for failing to adequately review and investigate the capital defendant’s

prior rape and assault conviction when (1) counsel knew the State intended to

introduce the prior rape conviction and trial transcript of the rape victim; (2) the prior

conviction file was easily available to counsel; and (3) counsel reviewed only a portion

of the prior conviction file without examining other material in the file concerning

evidence of Rompilla’s alcohol abuse, his poor background, test scores showing low

cognitive level, and test results pointing to the need for further mental evaluation,

all of which countered the assertions of Rompilla and his family that Rompilla’s

background was unremarkable. 545 U.S. at 385–86. Moreover, the Court specifically

compared defense counsel’s debatable obligation to pursue some “potential lines of

enquiry” and the “sure bet” obligation of Rompilla’s counsel to thoroughly review the

prior conviction file for the previously noted reasons. Id. at 382–83, 389. The Court

specifically noted that if defense counsel had examined available evidence, it was

“uncontested they would have found a range of mitigation leads that no other source

had opened up.” Id. at 392. This missing mitigating evidence “add[ed] up to a




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mitigation case that bears no relation to the few naked pleas for mercy actually put

before the jury [.]” Id. at 393.

       In contrast to the situations in Wiggins, Williams, and Rompilla, Hummel’s

defense team thoroughly investigated his background, and developed and presented

a very compelling mitigation defense, comprised of the type of evidence now proposed.

While this later-discovered evidence might provide more detail into Hummel’s

childhood, it does not so drastically change the original case in mitigation as

happened in Williams, 529 U.S. at 395–98, Wiggins, 539 U.S. at 516–17, 525–26, 534–

35, and Rompilla, 545 U.S. at 390–93. As such, Hummel truly fails to show an

inadequate investigation conducted by his trial counsel and to show that such an

investigation would have resulted in evidence that makes him less morally culpable.

As with the two previous IATC claims, Hummel fails to prove both prongs of

Strickland. Thus, he fails to show that the state court’s denial of this claim was

unreasonable under AEDPA.

              4.     Lay witnesses (claim 1-D)

       Hummel asserts that, because trial counsel focused only on Hummel’s

immediate family and on physical or sexual abuse, trial counsel did not uncover

numerous other lay witnesses who could have testified in mitigation of punishment,

and as such, trial counsel missed the opportunity to present historical evidence of

Hummel’s struggles in education, inability to connect, obsession with role-playing

games, severe medical issues, successful military career, and difficulty coping.

Petition at 55–56. To support this ground for relief, Hummel relies on affidavits from:



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Thomas Hamilton, Brian Jeter, Joseph “JoJo” Patterson, Chad Brown, Lance Dupre,

Shana Fowler, George Goodson, Christopher Paris, Tonya Paris, and Derrick Parris.

Pet. App. at 0259–264, 0268–269, 0273–276, 0277–283, 0289–293, 0299–300.

However, Hummel fails to show that the state court unreasonably denied this claim.

      As previously and thoroughly discussed, Hummel’s trial counsel conducted an

extensive mitigation investigation. 4 SHCR 1452. In conducting this investigation,

trial counsel “explored various themes as they came to light,” including Hummel’s

“participation in role-playing games, his use of marihuana, alcohol and other drugs,

the possibility that he had a mental disorder or illness, the possibility that he had

observed sexual or physical abuse in his household, and the possibility that he had

been abused or neglected as a child.” 2 SHCR 775. Trial counsel explained that, while

they remained alert for the existence of these issues, they did not select their

witnesses on the basis of any one issue and certainly never excluded any on the basis

that they were pursuing only allegations of physical or sexual abuse alone. Id.

      Rather, the witness selection was based on trial counsel’s ability or inability to

secure witnesses: some could not be located, some were located but not cooperative,

Hummel’s own sister would not meet with them or appear at trial until compelled,

Hummel’s aunt threatened defense team members with arrest for trespassing when

they attempted to interview Hummel’s mother, and several of Hummel’s family

members openly stated that they believed Hummel deserved the death penalty. 2

SHCR 775; 4 SHCR 1437. Nor did Hummel himself assist his trial counsel in locating

or uncovering helpful witnesses. 2 SHCR 540, 776. According to trial counsel,




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Hummel did not provide any names of anyone who served with him in the military,

denied witnessing or experiencing any abuse, reported having a normal childhood,

and described his Dungeons and Dragons gaming as harmless games that he played

on paper sometimes. 2 SHCR 776.

      While it might have been the investigator’s responsibility to uncover more

evidence, a petitioner cannot claim ineffective assistance of counsel when he and his

witnesses are responsible for the failure to discover evidence. Nixon v. Epps, 405 F.3d

318, 325–26 (5th Cir. 2005) (defendant cannot block counsel from presenting line of

defense, then claim ineffective assistance); Johnson, 306 F.3d at 252–53 (defense

team not deficient where they spent hours interviewing family members, maintained

weekly contact, asked about “laundry list” of topics, inquired about substance abuse,

physical abuse, sexual abuse, and brain injury, but family failed to disclose pertinent

information); Soria v. Johnson, 207 F.3d 232, 250–51 (5th Cir. 2000) (counsel should

not be faulted for defendant’s decision to conceal evidence of abuse); see also Schriro,

550 U.S. at 475. Thus, the state habeas court properly found that trial counsel cannot

be ineffective for failing to call family members, neighbors, church members,

coworkers, and others who did not want to testify, would not have testified favorably,

or were unable to be located. 4 SHCR 1456.

      Moreover, the record is clear that trial counsel did in fact uncover some of the

witnesses that Hummel now proffers, but counsel either could not locate those

witnesses, despite very reasonable efforts to do so, or strategically decided not to call

them. Specifically, trial counsel interviewed Hummel’s uncle Thomas Hamilton, but,




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differing slightly from the testimony that Hamilton now proffers, Hamilton was

adamant that no abuse had ever occurred—even to the point of contradicting

Hummel’s sister’s testimony—and was very defensive of his sister. 2 SHCR 541. Trial

counsel, therefore, reasonably decided not to call Hamilton, as they believed it would

be against Hummel’s best interests. 4 SHCR 1448.

      Similarly, trial counsel Cummings spoke with George Goodson during their

investigation, who was supportive of Hummel but also indicated that he was afraid

that his criminal history would be harmful. 2 SHCR 541. Goodson, therefore, did not

wish to testify, since he has spoken with prosecutors in the case, and they were well

aware of his criminal record. Id. Trial counsel strategically decided that calling

Goodson was not in Hummel’s best interest. Id.; 4 SHCR 1448.

      And, with regard to Hummel’s allegation that trial counsel should have

uncovered evidence about the physical and sexual abuse experienced by Neata

Woody, trial counsel stated that they did suspect that Neata and Hummel had been

abused, but every single person they interviewed denied any such abuse. 2 SHCR

538. Neither Derrick Parris—whose affidavit Hummel now proffers—nor any other

person ever indicated that they heard Neata tell Parris that she had been sexually

abused by her father. Id.; 4 SHCR 1450. Counsel had in fact interviewed Parris prior

to trial, but the information Parris offered about Hummel’s life and background

would change each time they spoke. 2 SHCR 539. Therefore, based on trial counsel’s

knowledge of and contact with Parris, he does not believe that such an event occurred.

Id.; 4 SHCR 1450.




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      The defense had also obtained Lance Dupre’s name in the course of their

investigation. 2 SHCR 542. Moore described their efforts to locate Dupre as follows:

      We attempted to contact him through telephone numbers that we
      discovered for his mother and his aunt. I left a business card at the house
      where we believed his family to live while I was in South Carolina,
      asking that he call us. Shortly before trial, we determined that it
      appeared that Mr. [Dupre] worked at the State Crime Lab in Columbia,
      South Carolina. We made telephone calls to every number that we were
      able to locate as possibly being a way to reach him, yet we never got an
      answer, nor received any return phone calls from him. We exhausted
      every lead that we had in our efforts to locate him.

Id. Thus, although Dupre now alleges in his affidavit that he was never contacted by

the defense but, had he been contacted by the defense, he would have testified in

Hummel’s favor, such an allegation appears to be flatly untrue. See Pet. App. 0269.

Hummel makes no effort to show how trial counsel’s investigative efforts to locate

Dupre were deficient or unreasonable, and Hummel certainly does not show that the

state court’s finding that “Dupre was not a witness who was available to the defense”

was unreasonable. 4 SHCR 1448, 1456; see also Day, 566 F.3d at 538.

      Finally, trial counsel also attempted to contact Christopher Paris but were

unsuccessful because Paris had separated from his wife prior to trial, Paris was not

visiting Hummel in jail at that time, and they were never able to locate another

method to contact him. 2 SHCR 542; 4 SHCR 1448. Hummel again makes no effort

to show how trial counsel’s “investigative efforts to locate Paris were in any manner

deficient or unreasonable.” 4 SHCR 1448.

      Nor does Hummel demonstrate how trial counsel’s failure to locate the

remaining witnesses—Jeter, Patterson, Brown, Fowler, and Tonya Paris—was the




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result of inadequate investigation. 4 SHCR 1448. Counsel’s decisions to call certain

witnesses and not to call other uncooperative or damaging witnesses were the result

of extensive investigation and strategic reasoning. Id. at 1455–56. Even if trial

counsel left some stone unturned, the Supreme Court has never held in Strickland or

any other case that an investigation must result in constructing a fully blossomed

family tree complete with every knot, blemish, and dark mark. See Rompilla, 545

U.S. at 383 (holding that counsel is not forced “to scour the globe on the off chance

something will turn up”).

       Additionally, as found by the state habeas court and despite Hummel’s

protestations to the contrary, much of the evidence that these witnesses discuss in

their affidavits was testified to at trial. See Statement of Facts, Section II.B, supra; 4

SHCR 1453 (“There is considerable overlap between the information that [Hummel]

claims his trial counsel should have discovered and presented via the lay witnesses

and the facts and themes trial counsel actually developed at trial.”). Indeed, trial

counsel put this same type of argument before a jury through nine lay witnesses and

two expert witnesses, all of who testified to Hummel’s school experience, his difficult

childhood, his attachment issues, his video-game playing tendencies, and his inability

to cope. Statement of Facts, Section II.B, supra; 4 SHCR 1438–48 (extensive

summary of all the defense witness testimony). Truly, Hummel’s complaint here

amounts to this: trial counsel did not put on the same type of or as much evidence

before the jury as current federal counsel would have. This is precisely the type of

backward-looking second guessing which Strickland strictly prohibits. See 4 SHCR




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1453 (finding that Hummel’s “claim that trial counsel should have investigated more,

called more lay witnesses, or asked the called lay witnesses different questions in

order to develop essentially the same defense theories already presented is

unpersuasive second-guessing in hindsight”); Skinner, 576 F.3d at 220. Thus, the

state habeas court properly found that trial counsel cannot be deficient for failing to

present cumulative evidence. Id. at 1456.

      Nor can a petitioner demonstrate prejudice with duplicative evidence. Id.;

Emery v. Johnson, 139 F.3d 191, 197 (5th Cir. 1997). “The jury was well aware

through lay and expert testimony of neglect, abuse, attachment issues, and family

stresses in [Hummel]’s life before and at the time of the murders and their potential

effect on [Hummel]’s decision to murder his family.” 4 SHCR 1453. And, a finding of

lack of prejudice is especially true in light of the premeditated, cold-blooded, and

heinous nature of his crime. Id.

      Further, some of the evidence Hummel refers to may not be considered

mitigating at all and may have had a harmful, “double-edged” result. See Wiggins,

539 U.S. at 535 (Wiggins’s history “contained little of the double edge we have found

to justify limited investigations in other cases.”). For instance, Brown averred in his

affidavit that Hummel was so interested in Dungeons and Dragons that he would

play it while driving, and his friends would have to tell him to pay attention to the

road, which can arguably be considered just as, if not more, damaging than it is

beneficial to Hummel. Pet. App. at 0260. And, both Brown and Dupre averred that

Hummel engaged in destructive behaviors, including drinking, smoking marijuana,




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and going to strip clubs frequently and becoming overly attached to the strippers. Pet.

App. at 0260, 0269. As such, this evidence is, at best, a double-edged sword, and

Hummel cannot show that he was prejudiced. See also Miniel, 339 F.3d at 346–48;

Ladd, 311 F.3d at 349; Johnson, 306 F.3d at 253; Kitchens, 190 F.3d at 702–03;

Williams, 125 F.3d at 278.

         Yet again, Hummel fails to show that his counsel was deficient or that he was

prejudiced by his counsel’s actions. Nor does he show that the state court

unreasonably denied his claims. His claim should be denied.

               5.    Military service (claim 1-E)

         In his final IATC issue, Hummel faults trial counsel because, even though they

presented several lay witnesses who testified to Hummel’s military service, trial

counsel failed to uncover and call three Marines who served with Hummel. Petition

at 57–60. Hummel specifically alleges that counsel should have called Fred Emmer,

Wayne “Buddy” Matthias, and Efrain Chaidez, all of whom would testify to what

Hummel did in the military and would provide context to the negative information

presented by the State. Id. at 58–60, 63. Hummel disputes the state court’s denial of

this claim on the basis that “evidence of military service is one of the most mitigating

pieces of evidence that can be presented,” a claim which he alleges is supported by

the Supreme Court’s holding in Porter v. McCollum, 558 U.S. 30 (2009). See Petition

at 68.

         However, Porter is clearly distinguishable. In Porter, defense counsel

presented only one witness in mitigation of Porter’s punishment: Porter’s ex-wife. 558



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U.S. at 32. Counsel’s mitigation case amounted to nothing more than evidence about

Porter’s turbulent relationship with the victim and the facts of the crime. Id. at 32,

41. On state habeas, substantial new mitigating evidence was proffered as to, among

other things, Porter’s heroic military service and the trauma that resulted from such

service. Id. at 33. Specifically, the evidence showed that Porter had served on the

front-lines in two separate engagements, received two Purple Hearts and other

commendations, and had gone absent without leave (AWOL) on multiple occasions,

with one of those occasions resulting in imprisonment. Id. at 35.

      The Supreme Court first found that trial counsel’s mitigation investigation was

lacking. Id. at 31, 39. Trial counsel met with Porter only once, never obtained any of

Porter’s school, medical, or military records, and never interviewed any of Porter’s

family members. Id. And, although Porter had instructed counsel not to speak with

his ex-wife or son, Porter gave no other instructions limiting counsel’s investigation.

Id. at 40. The Supreme Court held that counsel’s decision not to investigate “did not

reflect reasonable professional judgment.” Id.

      Having found that counsel was deficient, the Court also found prejudice. Id. at

42. The Court specifically found that the judge and jury at Porter’s original

sentencing proceeding “heard almost nothing that would humanize Porter or allow

them to accurately gauge his moral culpability.” Id. at 41. Noting that there is “a long

tradition of according leniency to veterans in recognition of their service, especially

for those who fought on the front lines as Porter did,” the Court held that Porter’s

combat experience was relevant not only because “he served honorably under extreme




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hardship and gruesome conditions,” but also because “the jury might find mitigating

the intense stress and mental and emotional toll that combat took on Porter.” Id. at

43–44 (emphasis added). Thus, the state court “unreasonably discounted” the

evidence of Porter’s military service. Id. at 43.

       Here, notwithstanding the degree to which Hummel’s own military service is

or is not as “heroic” as Porter’s,10 Hummel’s trial counsel in no way overlooked the

potential value of Hummel’s military service. 4 SHCR 1459. Indeed, unlike trial

counsel in Porter who did not obtain any records relating to Porter’s background,

Hummel’s counsel obtained copies of Hummel’s military records, which they provided

to their expert witnesses. 2 SHCR 543; 4 SHCR 1459. They also specifically inquired

of Hummel whether he could suggest anyone who he had befriended in the military

that might be willing to testify on his behalf, but Hummel was unwilling or unable to

provide any such names.11 2 SHCR 543. In fact, Hummel “indicated that his military

service was not a positive experience, and that he was glad when he got out.” Id. at

938. Despite Hummel’s lack of cooperation, counsel noted that Matthias’ name did



10     Indeed, the state habeas court specifically found that the “evidence of [Hummel]’s
unremarkable military service comes nowhere near the circumstances presented in Porter.”
4 SHCR 1465. To be sure, the evidence presented at trial showed that Hummel was a
mediocre Marine, who had difficulty following requirements and never received any
individual commendations. 45 RR 11, 14–17, 27, 30, 34–36, 38–39. Hummel did not even go
ashore when he was deployed abroad. 45 RR 40. This is clearly different from the caliber of
Porter’s service, and thus, the state court reasonably found Hummel’s reliance on Porter
unconvincing.

11     Hummel theorizes that perhaps the reason for Hummel’s unwillingness to discuss his
military background was because he was involved in top-secret work that, if revealed, could
have compromised the lives of his fellow Marines. Petition at 62–63. But, Hummel offers no
evidence to support this speculation, and, moreover, it does not change the fact that Hummel
was not cooperative with his trial counsel’s investigative efforts.


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come up in the mitigation specialist’s investigation, which was then forwarded to the

defense investigator, but the defense did not have Matthias’ first name—just his

nickname, “Buddy”—and they were thus unable to locate him. 2 SHCR 937–38; 4

SHCR 1460. Accordingly, in contrast to the petitioner in Porter, trial counsel’s failure

to locate Matthias, or to discover Emmer and Chaidez, “was not the result of an

inadequate investigation into [Hummel]’s background and life history.” 4 SHCR 1460.

      Further, and again unlike trial counsel in Porter who did not present any

evidence of Porter’s service, Hummel’s trial counsel did present information

regarding Hummel’s military service through both lay and expert witnesses and

through the cross-examination of the State’s witnesses. 2 SHCR 543; 4 SHCR 1459.

The defense’s lay witnesses in fact testified that Hummel “joined the Marines on his

twenty-second birthday, served for about four years, was assigned as an intelligence

analyst, and was more self-assured and had a higher self-esteem when he left the

Marines.” 4 SHCR 1459 (citing 43 RR 161, 166, 225, 231). Hummel’s expert witnesses

testified that Hummel was honorably discharged, could do well in a structured

environment based on his performance in the military, and had received several

commendations. Id. (citing 44 RR 70, 73, 159–60). And, on cross-examination, trial

counsel elicited testimony that Hummel was honorably discharged, was an

intelligence specialist, had been promoted to Lance Corporal, and had received only

a nonjudicial punishment for his unauthorized leave. 45 RR 22, 43–45. Thus, unlike

the petitioner in Porter, trial counsel offered plenty of humanizing evidence of

Hummel’s military service. “Courts must be particularly wary of arguments that




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essentially come down to a matter of degrees involving questions of whether counsel

investigated enough or presented enough mitigating evidence.” 4 SHCR 1465 (citing

Dowthitt, 230 F.3d at 743).

      Moreover, most of the evidence is, at best, a double-edged sword, and trial

counsel’s failure to present it can be neither deficient nor prejudicial to Hummel’s

case. See Miniel, 339 F.3d at 346–48. Indeed, trial counsel, through their

investigation, had already been aware of the disciplinary action taken against

Hummel at the end of his service, and they, therefore, strategically decided to avoid

that issue to whatever degree possible. 2 SHCR 543–44; 4 SHCR 1460. Additionally,

the three witnesses provide “both positive and negative information” in their

affidavits, as explained by trial counsel:

      A review of the affidavits they obtained indicates that [Hummel]
      “struggled with being overweight and messy” (Matthias); had a “hard
      time” as a Marine (Emmer); and “had a hard time from his sergeants for
      not making his weight standard” (Chaidez). I do not believe that these
      affidavits demonstrate any additional “positive” aspects of his service
      that we did not develop through our cross-examination of his
      commanding officers. While the affidavits do offer some explanation of
      [Hummel]’s difficulties with isolation and alienation while in the
      service, they also detail [Hummel]’s shortcomings as a Marine, and his
      proclivity for drinking and attending “strip clubs.”

2 SHCR 939; 4 SHCR 1460. Consequently, “the facts contained in the habeas

affidavits of Matthias, Emmer, and Chaidez, as well as the testimony of Doughtery

and Santos presented during the State’s rebuttal case, rebut any assertion that the

jury would have considered [Hummel]’s military service to be particularly

mitigating.” 4 SHCR 1461–62.      The state court was thus correct to conclude that the

evidence and argument that Hummel now proffers “would not have been significantly


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different or more compelling had the evidence contained in the habeas affidavits of

Chaidez, Matthias, and Emmer been introduced as evidence” at trial. Id. at 1462.

Hummel certainly cannot show that there is a reasonable probability that the

information contained in the affidavits “would have caused the totality of the

mitigating circumstances to outweigh the overwhelming and compelling aggravating

facts presented at [Hummel]’s trial.” Id.; see also Statement of Facts, Sections I, II.A,

supra. Hummel wholly fails to establish that his counsel was deficient or that he was

prejudiced by counsel’s alleged deficiency. Nor does Hummel show that the state

court’s decision was unreasonable. Therefore, this Court should deny Hummel’s

claim.

               6.    Conclusion

         In sum, developing a mitigation defense under the circumstances of this case

was a particularly daunting task. Hummel had violently murdered his pregnant wife,

his five-year-old daughter, and his elderly father-in-law and had committed these

murders in a cold, callous, and calculating manner. Additionally, Hummel had

planned and executed a previous attempt at murdering them, all in order to be able

to pursue a relationship with a woman he met at a gas station who herself had a six-

year-old daughter. Trial counsel was nevertheless faced with the unenviable task of

presenting Hummel in a sympathetic light.

         To this end, and despite a lack of cooperation from his client or the client’s

family, the defense presented an admirable punishment-phase defense, including

evidence of good behavior in prison, evidence showing that mental health and



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personality disorders affected his decision-making abilities, and compelling evidence

of a dysfunctional family life. While witnesses are now willing to supplement the

already-known evidence regarding Hummel’s behavioral history and family life, trial

counsel nevertheless performed an extensive and thorough investigation prior to trial

and presented a mitigation case that was strategically reasonable under the

circumstances. Regardless, there is no reasonable likelihood of a different result had

the jury heard yet another witness expound upon his lack of violent history or heard

evidence that Hummel had a not-widely-recognized mental health syndrome. See

Richter, 562 U.S. at 112 (“[The] likelihood of a different result must be substantial,

not just conceivable.”). The CCA’s rejection of this claim was entirely reasonable and

entitled to deference.

III.   Hummel Fails to Demonstrate that the State Court Unreasonably
       Denied His Ineffective Assistance of Appellate Counsel Claim (Claim
       2).

       In his second ground for relief, Hummel alleges his appellate counsel was

ineffective for failing to argue that the State’s case was insufficient to show future

danger and for failing to focus his appellate argument on the unlawful detention by

Border Patrol, rather than the arrest warrant affidavit. Petition at 67–84. However,

Hummel fails to show that his appellate counsel was deficient in any way or that he

was prejudiced by any such deficiency, and the state court was reasonable in denying

his claim. This Court should, therefore, also deny Hummel’s claim.

       A criminal defendant is constitutionally entitled to effective assistance of

counsel on direct appeal. Evitts v. Lucey, 469 U.S. 387 (1985); United States v.



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Phillips, 210 F.3d 345, 348 (5th Cir. 2000); Lombard v. Lynaugh, 868 F.2d 1475, 1479

(5th Cir. 1989). The familiar standard set out in Strickland to prove that counsel

rendered unconstitutionally ineffective assistance applies equally to both trial and

appellate attorneys. Busby v. Dretke, 359 F.3d 708, 714 (5th Cir. 2003) (citing Smith

v. Robbins, 528 U.S. 259, 285 (2000)). Thus, to obtain relief, Hummel must

demonstrate that his appellate counsel’s performance was deficient and that such

deficiency prejudiced his defense. Strickland, 466 U.S. at 687.

      It is well settled that effective assistance of counsel on appeal does not mean

that counsel must raise every non-frivolous ground of appeal available. Schaetzle v.

Cockrell, 343 F.3d 440 (5th Cir. 2003); Robbins, 528 U.S. at 288. Instead, the Supreme

Court has recognized the importance of allowing appellate attorneys the freedom to

select from available issues in order to maximize the likelihood of success on appeal.

Robbins, 528 U.S. at 288. Only “solid, meritorious arguments based on directly

controlling precedent should be discovered and brought to the court’s attention.”

United States v. Williamson, 183 F.3d 458, 462–63 (5th Cir. 1999). Thus, counsel

should choose the strongest arguments to present to the appellate court, by

“winnow[ing] out weaker arguments and focus[ing] on a few key issues.” Mayo v.

Lynaugh, 882 F.2d 134, 139 (5th Cir. 1989) (quoting Jones v. Barnes, 463 U.S. 745,

751–52 (1983)). In other words, appellate counsel is only constitutionally obligated to

raise and brief those issues that are believed to have the best chance of success.

Barnes, 463 U.S. at 751–53.




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      For this reason, the Supreme Court has recognized that, while it is still

possible to raise an ineffective-assistance claim based on counsel’s failure to raise a

particular issue on appeal, it is difficult to demonstrate that counsel was deficient.

Robbins, 528 U.S. at 288. In order to prove that counsel’s failure to raise certain issues

constitutes deficient performance and falls “below an objective standard of

reasonableness,” a petitioner must convince the court that the issues ignored were

sufficiently meritorious such that counsel should have asserted them on appeal.

Phillips, 210 F.3d at 348. The Supreme Court has indicated that a petitioner is able

to satisfy this first prong of Strickland by showing that a particular non-frivolous

issue neglected by counsel was “clearly stronger” than those issues actually

presented. See Robbins, 528 U.S. at 288. The same analysis applies here. That is, to

prove that counsel’s performance was deficient, Hummel must demonstrate that the

unraised points of error were clearly stronger in posture than those counsel actually

brought on direct appeal.

      And, to prove that counsel’s deficient performance prejudiced his case,

counsel’s errors become prejudicial when there is a reasonable probability that, but

for the error, the ultimate result would have been different. Therefore, to prove

prejudice a petitioner must show that, but for counsel’s deficient performance, “he

would have prevailed on appeal.” Robbins, 528 U.S. at 286; Moreno v. Dretke, 450

F.3d 158, 168 (5th Cir. 2006); Busby, 359 F.3d at 714. That is, prejudice cannot be

shown in the absence of a reasonable probability that, but for counsel’s omitting a




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particular ground of error, the case would have been reversed on appeal. Robbins,

528 U.S. at 285.

       A.     Hummel’s allegation that appellate counsel failed to challenge
              the sufficiency of the State’s future dangerousness case is
              waived and without merit (claim 2-A).12

       Hummel argues that his appellate counsel Stickels was ineffective for failing

to argue on appeal that the State’s future dangerousness case was legally insufficient.

Petition at 64–67. As an initial matter, although in the title of his claim Hummel

faults both trial and appellate counsel for failing to argue that the State’s evidence

was insufficient to show future danger, Hummel never again mentions his appellate

counsel with respect to this claim. See id. Indeed, the only law cited to in support of

his claim is Wiggins and Wong, which, as discussed in great detail above, are cases

that govern trial counsel’s mitigation investigation. See id. at 65–66; see also

Argument, Section II.B, supra. And, in fact, Hummel concludes his argument by

conducting the prejudice analysis required by Wiggins. Petition at 66.

       This conclusory briefing is insufficient to adequately raise a claim of ineffective

assistance of appellate counsel and, as such, should be considered waived. See, e.g.,

Miller v. Johnson, 200 F.3d 274, 282 (5th Cir. 2000) (holding conclusory allegations

are insufficient to raise a valid claim for relief), cert. denied, 531 U.S. 849 (2000);

Cinel v. Connick, 15 F.3d 1338, 1345 (5th Cir. 1994) (holding a party who

inadequately briefs an issue is considered to have abandoned the claim); Baylor v.



12     As previously indicated, this claim was a portion of Petitioner’s Claim 1-F in his
federal petition. The remaining portion, related to trial counsel’s ineffectiveness, is addressed
in Argument, Section II.A, supra.


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Dretke, No. 4:03-CV-265-Y, 2003 WL 22389277, at *6 (N.D. Tex. Oct. 16, 2003)

(unpublished) (“[Petitioner] does not direct the court to where in the record this

remark was made or offer any reason to believe the remark could be construed as

coercive. Thus, this claim is inadequately briefed and is waived.” (citing Trevino v.

Johnson, 168 F.3d 173, 181 n.3 (5th Cir. 1999))).

      Even assuming that Hummel has adequately raised this claim, he fails to show

that he is entitled to relief. Specifically, as previously and thoroughly discussed,

Hummel fails to demonstrate an entitlement to relief on his underlying claim,

because, as found by the state court, the State “presented compelling, overwhelming

evidence to satisfy its burden to prove beyond a reasonable doubt that [Hummel]

posed a future danger as defined in the Court’s charge to the jury.” 4 SHCR 1403; see

Argument, Section II.A, supra (showing that trial counsel was not ineffective because

the State’s future dangerousness case was legally sufficient). Therefore, as found by

the state court, Stickels did not raise such an argument on direct appeal because

doing so would have been frivolous. 4 SHCR 1403, 1412–413. Because the underlying

claim regarding the sufficiency of the State’s case is not meritorious, the state court

properly concluded that Hummel cannot demonstrate prejudice arising from

Stickels’s failure to raise this claim. 4 SHCR 1413.

      Hummel wholly fails to demonstrate that the state court’s decision was

unreasonable in any respect. His claim should thus be denied.




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      B.     Appellate counsel effectively argued that Hummel’s detention
             by U.S. Border Patrol was illegal (claim 2-B).

      Hummel next alleges that his appellate counsel was ineffective because he

“focused only on the affidavit used to secure Petitioner’s arrest warrant and ignored

the unlawful detention by the Border Patrol.” Petition at 67. Hummel argues that,

regarding the detention by the Border Patrol in San Ysidro, Stickels argued only that

Hummel’s confession was “the culmination and result of all of the previous

unconstitutional state actions.” Id. at 73. Hummel argues that Stickels should have

instead argued that Border Patrol lost jurisdiction over Hummel at 7:17 a.m. Pacific

Time, once it was established that Hummel was an admissible U.S. citizen, had no

active warrant for his arrest, and was no longer “missing” or “armed and dangerous.”

Id. at 75. Hummel alleges that any evidence obtained after that time was illegal fruit

of the poisonous tree. Id. at 80. Hummel finally contends that Stickels’s failure to

argue this issue was deficient performance that resulted in prejudice because

Hummel’s confession was admitted at trial. Id. at 80–81. However, Hummel fails to

demonstrate that the state court unreasonably denied his claim, and this Court

should dismiss his claim with prejudice.

             1.    Appellate counsel raised and adequately briefed
                   Hummel’s claim that his detention by U.S. Border Patrol
                   was illegal.

      Hummel criticizes Stickels, not for wholly omitting a Fourth Amendment claim

based on his allegedly illegal detention, but for focusing only on one aspect of the

claim. See Petition at 67–84. But, Hummel’s argument that the only argument

counsel made with regard to the illegal detention was that it was the “culmination


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and result of all of the previous unconstitutional state actions” is a misrepresentation

of the record. See id. at 73.

       Indeed, Stickels argued in his appellate points of error eight, nine, and ten that

the trial court’s denial of his motion to suppress evidence seized from Hummel as a

result of his arrest at the San Ysidro border crossing was a violation of his rights

under the Fifth and Fourteenth Amendments of the U.S. Constitution, under the

Texas Constitution, and under the Texas Code of Criminal Procedure. Appellant’s Br.

at 36–41. Stickels specifically argued that Hummel’s arrest and extended detention

by Border Patrol was illegal “because it was based on intentional lies and falsehoods

of the Kennedale Police Department to the U.S. Customs Officers.” Id. at 37. Stickels

further argued that the falsehoods were intended to induce the Border Patrol officers

into keeping Hummel in custody while they obtained an arrest warrant, and that

Hummel would have been released but for these lies. Id. at 37–38. Stickels concluded:

       The Customs agents would not have kept [Hummel] in custody without
       the false representations of the Kennedale Police Department.
       [Hummel] was merely being held for questioning because he was
       attempt[ing] to re-enter the country without the proper documents and
       he would have been released except for the false representation by the
       Kennedale Police Department. The taint of the initial illegal detention
       tainted the ensuing searches, interrogations, and conviction.

Id. at 38. Stickels argued that Hummel was harmed by this allegedly illegal detention

because Hummel’s confession was admitted at trial. Id. at 40. And, the CCA rejected

any contention that the detention was illegal, holding:

       To the extent that [Hummel] is arguing that these particular statements
       were the fruits of an illegal detention at the border, his claim is without
       merit. [Hummel] contends that, at the time he arrived at the border
       crossing, there was a missing person report, but no warrant for his


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      arrest. He asserts that Kennedale police officers lied to border-
      protection agents “about the existence of an arrest warrant with the
      intent of keeping [him] in custody,” and that he “would have been
      release[d] except for the lies of the Kennedale police department.” Based
      on the evidence presented at the suppression hearing, the trial court
      found otherwise. The trial court found that the border-protection agents
      detained [Hummel] in a routine manner when he could not provide
      sufficient documentation to gain entry to the United States. During the
      identification check, the border-protection agents received notification
      that [Hummel] was “missing from Texas” and “armed and dangerous,”
      so they transferred him “to a secondary area for further identification.”
      When they “contacted the Kennedale Police Department to confirm the
      information,” they were notified that an arrest warrant “was in the
      process of being obtained.” Upon verification of the warrant, they
      transferred [Hummel] “to the San Diego Sheriff’s Office to detain [him]
      until Texas law enforcement officers arrived.” The trial court found that
      the border-protection agents had authority pursuant to federal law to
      detain [Hummel] under the circumstances, and it denied [Hummel]’s
      “Motion No. 72.”

      The trial court’s ruling is supported by the record of the suppression
      hearing. CBP agents Jorge Bernal, Ernesto Enriquez, and Paul Kandal
      testified that they were following their policies and procedures when
      they detained [Hummel] for further identification and verification of his
      status. Enriquez testified that when he called the Kennedale Police
      Department to verify [Hummel]’s status, he was told to “hold [Hummel]
      because he has a warrant.” Enriquez then referred [Hummel] to Kandal.
      Captain Darrell Hull of the Kennedale Police Department testified that
      he told Kandal that he was “in the process of getting an arrest warrant,”
      that he communicated updates to Kandal while in the process of getting
      the warrant. He also stated that he notified Kandal when the warrant
      was obtained. Kandal confirmed that he knew [Hummel] did not
      initially have an arrest warrant and that Kennedale police officers were
      working to obtain one. Because the trial court’s findings are supported
      by the record, they will not be disturbed on appeal. Points of error eight
      through ten are overruled.

Hummel, 2013 WL 6123283, at *17–18. Although the CCA did not find in Hummel’s

favor, Stickels believes that he “presented the motion to suppress issue in an

appropriate manner that was calculated to obtain relief,” even though he understands

that the motion to suppress issue could have been presented in a different manner. 2


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SHCR 567. Thus, counsel fulfilled his obligation to “winnow out weaker arguments

and focus on a few key issues.” Mayo, 882 F.2d at 139; Barnes, 463 U.S. at 751–53.

Appellate counsel was constitutionally obligated to raise and brief only those issues

that are believed to have the best chance of success, and that is what he did here.

      Consequently, the state habeas court reasonably found that Hummel “does not

articulate exactly how his appellate counsel should have argued the claims differently

or how counsel’s failure to do so fell outside the wide range of reasonable professional

assistance.” 4 SHCR 1492. The state court found that Hummel is “simply second-

guess[ing] in hindsight his appellate counsel’s strategic decisions based on counsel’s

experience and research about how to best challenge on direct appeal the Court’s

denial” of Hummel’s motions to suppress his confession. Id. Thus, Hummel’s claims

that appellate counsel did not argue an issue on appeal in the manner that he wishes

he had is unavailing.

             2.     The record does not support Hummel’s claim.

      Moreover, Hummel fails to show that Stickels was somehow deficient for

strategically choosing to challenge the legality of Hummel’s detention in the manner

he did or that he would have prevailed on appeal because Hummel again fails to show

that his underlying claim is meritorious; indeed, the state court was reasonable to

find that Hummel was not illegally detained at the San Ysidro border crossing.

Consequently, he cannot show that his appellate counsel was ineffective for failing to

adequately brief this claim, and his claim should be denied.




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                   i.    Facts surrounding the detention

      A suppression hearing was held in which Hummel sought to suppress, as

relevant here, any evidence seized and statements given by Hummel as a result of

his arrest in California by the U.S. Customs and Border Protection Service. 6 RR 8;

2 CR 324–351 (Motions to Suppress Nos. 70–76). In that hearing, the evidence showed

that Hummel was reported missing by Christopher Paris on December 19, 2009. 7

RR 64, 84; 9 RR 132–35. The report, which was entered into the National Crime

Information Center system, stated:

      LAW ENFORCEMENT SENSITIVE POSSIBLY MENTALLY
      UNSTABLE PERSON OF INTEREST IN HOMICIDE CONSIDER
      ARMED AND DANGEROUS APPROACH WITH CAUTION SUBJECT
      HAS MILITARY BACKGROUND DO NOT ARREST OR DETAIN
      BASED ON THIS RECORD IF LOCATED CONTACT KENNEDALE
      PD . . . ADVISE LOCATION AND DIRECTION OF TRAVEL

SX 39; 6 RR 71–72; 7 RR 83–84; 9 RR 97–98.

      At 5:48 a.m. Pacific Standard Time on December 20, 2009, Hummel attempted

to reenter the United States from Mexico through the San Ysidro border crossing in

California, but Hummel presented only a Texas driver’s license, which was

insufficient identification to enter the United States under the Western Hemisphere

Travel Initiative program. 7 RR 111–13, 123–24; 8 RR 73–74. A computer check of

Hummel’s name revealed that Hummel was “armed and dangerous,” pursuant to the

above report. 7 RR 114. Officers then handcuffed Hummel and escorted him to the

port enforcement team for secondary processing, pursuant to agency protocol. 7 RR

116–18. Officers testified that, even if the name check had not shown that Hummel




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was reported “armed and dangerous,” Hummel would still not have been allowed to

enter because of his lack of documentation. 7 RR 118–19.

      Hummel was presented to Officer Ernesto Enriquez as a missing person

lookout and as possibly armed and dangerous. 7 RR 139–40. A fingerprint scan

confirmed that Hummel was reported as a missing person, but did not confirm his

citizenship status. 7 RR 140–41. The matter, therefore, remained under

investigation, and Enriquez called the Kennedale Police Department (KPD). 7 RR

142. KPD told Enriquez to hold Hummel because he had a warrant from KPD,

although Enriquez was not able to confirm that warrant. 7 RR 144–45. Enriquez then

referred Hummel to Officer Kandal in the Border Patrol prosecutions unit. 7 RR 145;

8 RR 72.

      Kandal testified that, when Enriquez referred Hummel to him, he told

Enriquez that he would call the jurisdiction with the warrant on Hummel and start

making arrangements for Hummel’s extradition. 8 RR 72. Kandal was aware that

Hummel had committed an administrative violation when he failed to produce

adequate identification, and the Border Patrol has the authority to detain Hummel

to determine his citizenship status without giving Miranda13 warnings. 8 RR 73–74.

      At 7:17 a.m., Kandal spoke with the dispatcher from KPD and ultimately

determined that there was not an active warrant on Hummel at that time. 8 RR 76–

77, 89–90. At the time that Kandal was attempting to verify Hummel’s citizenship,

the KPD was still in the process of obtaining the warrant of arson. 8 RR 76, 90.



13    Miranda v. Arizona, 384 U.S. 436 (1966).


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However, once Kandal confirmed that Hummel is a U.S. citizen, Kandal told the

dispatcher that Hummel is an otherwise admissible person that he cannot hold

without a warrant. 8 RR 87, 89–90. Kandal, however, was still required to hold

Hummel because KPD had not told him what to do about the missing persons report.

8 RR 70, 90. Agency policies and directives required this for out-of-state missing

persons, notwithstanding individual state instructions on whether to detain them or

not. 8 RR 70, 91, 99–100. Approximately four hours later, the warrant was signed

and verified, and Kandal transported Hummel to the San Diego County Jail. 8 RR

77–78, 81, 92, 98. Hummel was then given Miranda warnings and eventually

confessed. 6 RR 79–88.

      The trial court denied Hummel’s motions to suppress, finding that the Border

Patrol was authorized to detain Hummel in the manner it did and that Hummel’s

subsequent statements were lawfully obtained. See 10 RR 62–64; 11 RR 5–6.

                   ii.   The state court’s denial of this claim was reasonable.

      The state court found that, based on the aforementioned record, Hummel fails

to show this iteration of appellate points of error eight, nine, and ten—focusing on

the argument that Border Patrol lost its jurisdiction over Hummel once it was

determined that he was an otherwise admissible U.S. Citizen—“had indisputable

merit under settled case law,” and, therefore, Hummel cannot demonstrate that “he

would have prevailed on appeal had his appellate counsel raised different issues or

argued the issues raised differently.” 4 SHCR 1492.

      As summarized by the state court:




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         Kandal was required to continue holding [Hummel] in order to
         determine what Kennedale wanted to do about [Hummel] being a
         missing person. Kandal was not bound by the language of the Kennedale
         Police Department’s missing-person report instructing agencies not to
         detain or arrest [Hummel] because Kandal operates under the policies
         and directives of the [Border Patrol] to contact the jurisdiction, verify
         the information, and find out what the agency wants done with the
         individual who has been reported missing.

4 SHCR 1489 (internal citations omitted).

         Thus, while Hummel is correct to assert that at 7:17 a.m. it was determined

that Hummel was an “otherwise admissible” U.S. citizen, he is incorrect to say that

“there was no valid reason for Border Patrol to hold him” after that, given the

testimony provided by Officer Kandal. Petition at 72; see also 8 RR 74–75. Thus,

Hummel’s assertion that the “sole basis for [Hummel]’s continued detention” was that

KPD was in the process of obtaining the arrest warrant is also incorrect. See Petition

at 75.

         Accordingly, the state court reasonably found that “[t]here is no legal or factual

basis for the Court to suppress [Hummel]’s confessions or the evidence found as a

result of the confessions.” 4 SHCR 1492. Hummel attempts to rely on various

immigration statutes and provisions to demonstrate counsel’s ineffectiveness, but is

unable to point to any clear Supreme Court or even state court precedent that would

compel a state appellate court to find that Hummel’s detention by Border Patrol was

unconstitutional or that such a detention vitiates a confession obtained after a

warrant was issued, he was transported into state custody, and properly Mirandized.

See Petition at 75–84. Simply put, “[t]here is no reasonable probability that [Hummel]

would have prevailed on direct appeal had his appellate counsel ‘more clearly argued’


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the point of error challenging the denial of [Hummel]’s motion to suppress.” 4 SHCR

1495. Therefore, Hummel wholly fails to show that he suffered any prejudice as a

result of counsel’s failure to brief the appellate error in the exact manner he wishes

he would have.

       Because Hummel fails to demonstrate that the state court’s denial of this claim

was unreasonable, this Court should similarly deny his claim.

IV.    Hummel’s Claim That the Texas Capital Sentencing Scheme Violates
       the Eighth Amendment Because the Instructions Unconstitutionally
       Narrowed the Definition of Mitigating Evidence Lacks Merit (Claim
       3).

       Hummel objects to the statutorily-required definition of mitigating evidence as

that   which   “a   juror   might   regard    as   reducing   the   defendant’s   moral

blameworthiness,” see Texas Code of Crim. Proc. art. 37.071 § 2(f)(4), complaining

that the instruction impermissibly limited the jury’s consideration of his mitigation

evidence and effectively instructed the jury to disregard mitigating evidence that was

unrelated to his moral culpability. Petition at 92–102. Hummel contends that the jury

may have been unable to consider evidence of his ability to adapt to the structured

prison environment, his difficult childhood, his respectable military service, and his

attachment issues. Id. at 85–91. However, the state court’s conclusion is indisputably

correct in light of the fact that Hummel’s claim is foreclosed by Supreme Court and

Fifth Circuit precedent. Accordingly, AEDPA precludes relief on this claim.

       A review of the instruction given clearly shows that Hummel’s capital-

sentencing jury was not denied a vehicle for expressing its reasoned moral response




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to Hummel’s mitigating evidence. The trial court instructed the jury on the mitigation

special issue as follows:

      Whether, taking into consideration all of the evidence, including the
      circumstances of the offense, the defendant’s character and background,
      and the personal moral culpability of the defendant, there is sufficient
      mitigating circumstance or circumstances to warrant that a sentence of
      life imprisonment rather than a death sentence be imposed.

4 CR 727. The trial court further instructed that the jury should “consider mitigating

evidence to be evidence that a juror might regard as reducing the defendant’s

blameworthiness.” Id.

      The Fifth Circuit has repeatedly held that “Texas’ definition ‘encompasses

‘virtually any mitigating evidence.’” Roach v. Quarterman, 220 F. App’x 270, 277 (5th

Cir. 2007) (unpublished) (quoting Beazley v. Johnson, 242 F.3d 248, 260 (5th Cir.

2001)); see also McCoskey v. Thaler, 478 F. App’x 143, 150 (5th Cir. 2012)

(unpublished) (“The capacious definition of ‘mitigating evidence’ employed in the

Texas statute can ‘encompass[ ] virtually any mitigating evidence.’”). Furthermore,

the Supreme Court specifically commended the new statute as a “[a] clearly drafted

catchall instruction on mitigating evidence” and a model of “brevity and clarity.”

Penry v. Johnson, 532 U.S. 782, 802–03 (2001) (“Penry II”).

      And, the Fifth Circuit has soundly rejected Hummel’s specific argument that

the definition unconstitutionally limits the categories of evidence that may be

considered mitigating. See Sprouse v. Stephens, 748 F.3d 609, 622 (5th Cir. 2014);

Blue v. Thaler, 665 F.3d. 647, 663–68 (5th Cir. 2011); Beazley, 242 F.3d at 259. In

Blue the petitioner raised a similar claim arguing that the “moral blameworthiness”




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definition of mitigating evidence was “unconstitutionally narrow and ‘effectively

nullif[ied] the word “background” in the special issue itself.’” 665 F.3d at 665–66.

Thus, Blue argued, a reasonable juror would assume that “moral blameworthiness”

relates only to those factors directly related to the commission of the crime, while

other socio-economic and psychological reasons for the defendant’s behavior—such as

evidence of “poor mental health, low IQ, and good conduct while incarcerated”—were

effectively beyond the jury’s reach. Id. at 666. The Fifth Circuit found this argument

foreclosed. Id. at 666–67 (relying on Beazley).

      Further, Hummel’s arguments to the contrary are a new rule that is barred by

Teague v. Lane, 489 U.S. 288 (1989). Accordingly, Hummel has not shown that the

state court proceedings denying this claim resulted in a decision that was contrary

to, or involved an unreasonable application of, clearly established federal law, as

determined by the Supreme Court of the United States, or that the decision was based

on an unreasonable determination of the facts in light of the evidence presented in

the state court proceeding. See 4 SHCR 1529; 28 U.S.C. 2254(d). Therefore, no relief

should issue on this claim.

V.    Hummel’s Claim that his Death Sentence is Unconstitutional Because
      Texas Arbitrarily Administers the Death Penalty is Without Merit
      (Claim 4).

      In his fourth claim for relief, Hummel contends that Tarrant County sought

the death penalty against him as a result of an arbitrary system. Petition at 104.

Hummel’s claim relies entirely on statistics related to the application of the death

penalty in the most populous Texas counties and law review articles stating that race



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may be a motivating factor in the likelihood of the State to seek the death penalty.

Id. at 102–10. Hummel primarily blames the resource disparity between the most

populous counties and the least, which he argues plays a large and arbitrary role

between when a defendant faces death. Id. at 106–10. However, the state court found

that this claim is without merit, and the state court’s decision was entirely

reasonably. 4 SHCR 1530.

      “The conscious exercise of some selectivity in [criminal law] enforcement is not

in itself a federal constitutional violation” unless the selection was “deliberately based

upon an unjustifiable standard such as race, religion or other arbitrary

classification.” Oyler v. Boles, 368 U.S. 448, 456 (1962). A defendant claiming an equal

protection violation in a death penalty case must prove that the prosecutor acted with

a discriminatory purpose in that particular case. McCleskey v. Kemp, 481 U.S. 279,

292–93 (1987); see also White v. Thaler, 522 Fed. App’x 226, 235 (5th Cir. 2013)

(explaining that a defendant could not prevail in an equal protection claim

challenging the imposition of the death penalty because he could not show evidence

of racial discrimination in his particular case). Indeed, the Court in McCleskey

considered very similar evidence to what Hummel now proffers and rejected the idea

that statistics or studies provide proof of discriminatory intent in a particular case.

481 U.S. at 294. Hummel adduces no direct evidence of racial or geographic

discrimination. Given the lack of specific proof relating to his own case, the state

habeas court reasonably denied Hummel’s claim. 4 SHCR 1530.




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       Further, with regard to Hummel’s complaint that the death penalty is

disproportionately applied in the top five most populous counties in Texas—including

Tarrant County—as compared to other counties, a suspect classification is not

implicated by such a claim, and the Texas death-penalty statute is, therefore,

“presumed to be valid and will be sustained if the classification drawn by the statute

is rationally related to a legitimate state interest.”14 City of Cleburne, Tex. v. Cleburne

Living Ctr., 473 U.S. 432, 440 (1985). Given that prosecutorial discretion is essential

to the criminal justice process, see McCleskey, 481 U.S. at 297, Hummel cannot satisfy

this standard. See United States v. Batchelder, 442 U.S. 114, 124 (1979);

Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978).

       The fact remains that Hummel committed an act for which the United States

Constitution and Texas laws permit the imposition of the death penalty. McCleskey,

481 U.S. at 297. Hummel was not the victim of happenstance, he chose to commit this

capital murder in Tarrant County. The decision to seek the death penalty was clearly

within the prosecutor’s discretion, and Hummel fails to demonstrate that a

prosecutor would not have sought the death penalty if Hummel had only committed

this capital murder in a different county. And while he argues that Bush v. Gore, 531

U.S. 98 (2000), supports his claim, the Fifth Circuit has opined that Bush has an

“utter lack of implication in the criminal procedure context.” Chi v. Quarterman, 223

F. App’x 435, 440 (5th Cir. 2007) (unpublished). Hummel’s briefing generally suggests



14    The Supreme Court has never held that capital murderers constitute a suspect class,
and has even indicated otherwise. See Gregg, 428 U.S. at 187–88 (decision to authorize capital
punishment for some classes of crimes was one best left to legislature unless “clearly wrong”).


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that it is constitutionally intolerable that some death-eligible defendants are

subjected to the possible imposition of capital punishment, while others are not. But

“[t]he Constitution permits qualitative differences in meting out punishment and

there is no requirement that two persons convicted of the same offense receive

identical sentences.” Williams v. Illinois, 399 U.S. 235, 243 (1970).

      For the foregoing reasons, the state habeas court’s rejection of this claim was

not contrary to, or an unreasonable application of, federal law. See 28 U.S.C. §

2254(d)(1). Accordingly, federal habeas relief should be denied.

VI.   The “10/12 Rule” is Constitutionally Sound (Claim 5).

      Hummel finally argues that the requirement of ten “No” votes on the special

issues violates his Sixth, Eighth, and Fourteenth Amendment rights. Petition at 111–

18. At bottom, Hummel argues that that the “10/12 Rule” “mislead[s] the jury into

believing the only way a life sentence (without parole) will ever be given to a capital

defendant is if ten jurors agree.” Id. at 115–16.

      The Fifth Circuit has repeatedly rejected challenges to the “10/12 Rule.” See

Sprouse, 748 F.3d at 623; Blue, 665 F.3d at 669–70; Druery v. Thaler, 647 F.3d 535,

542–45 (5th Cir. 2011); Miller v. Johnson, 200 F.3d 274, 288–89 (5th Cir. 2000);

Jacobs v. Scott, 31 F.3d 1319, 1328–29 (1994). Moreover, the Fifth Circuit has held

that challenges to the “10/12 Rule” are barred by Teague. See Blue, 665 F.3d at 670

(to the extent “10/12 Rule” challenge urges adoption of new rule, it is barred under

Teague); Hughes v. Dretke, 412 F.3d 582, 593–94 (5th Cir. 2005) (rejecting Eighth

Amendment challenge to “10/12 Rule” as Teague-barred); Alexander v. Johnson, 211



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F.3d 895, 897 (5th Cir. 2000) (argument that “10/12 Rule” created false need for

unanimity Teague-barred).

      Accordingly, the state court’s rejection of Hummel’s claim was not objectively

unreasonable, and his claim is barred by non-retroactivity principles. 4 SHCR 1531.

                                  CONCLUSION

      Because Hummel fails to meet his burden under AEDPA showing the state

court unreasonably denied his claims, the Director respectfully requests this Court

dismiss with prejudice his federal habeas petition. The Director also respectfully

requests this Court deny a Certificate of Appealability.

                                           Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I do hereby certify that on July 6, 2017, I electronically filed the forgoing
pleading with the Clerk of the Court for the United States District Court, Northern
District of Texas, using the electronic case-filing system of the Court. The electronic
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